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                                                                   NOV 12 2022
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 4

 5   Plaintiff in Pro 6H

 6
                              UNITED STATES DISTRICT COURT
 7
                             CENTRAL DISTRICT OF CALIFORNIA
 8

 9
     ___________________________________             2:22-CV-08274-MWF-KSx
10
                                               Case Number:
11   JOSE FLORES, an individual                District Judge:
12                                             Courtroom:
                              Plaintiff
13
                       Vs.
14                                             COMPLAINT )25'$0$*(6
     COINBASE, INC., COINBASE                  DEMAND FOR JURY TRIAL
15
     GLOBAL, INC., BRIAN ARMSTRONG             DEMAND FOR PUNITIVE DAMAGES
16   and DOES 1 through 10, inclusive,

17                           Defendants.
18

19

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21

22

23

24

25

26



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 1

 2           Comes now Plaintiff Jose Flores hereby “Flores or Plaintiff” individually
 3
     files his Complaint for money damages, alleging the following against defendants
 4
     Coinbase Global, Inc. (“Coinbase Global”), Coinbase, Inc. (together with Coinbase
 5

 6   Global, “Coinbase”), and Brian Armstrong (collectively with Coinbase Global and

 7   Coinbase, Inc., “Defendants”), based on personal knowledge, the investigation, and
 8
     information and belief. Plaintiffs believe substantial evidentiary support will exist
 9
     for the allegations set forth herein after a reasonable opportunity for discovery.
10

11
                                            INTRODUCTION
12

13           1.      Coinbase is an American company that created and operates a website
14   from which customers can buy and sell digital assets. During the period between
15
     September 28, 2020 and the present (the “Material Period”), Coinbase has used
16

17
     this platform to buy from and sell to customers 80 different digital assets at issue in

18   this action1. But what Coinbase has not disclosed is that the Tokens are in fact
19
     securities, and Coinbase is selling these securities despite the fact that there is no
20
     registration statement in effect for these securities and despite the fact that
21

22   Coinbase has refused to register either as a securities exchange or as a broker-

23   1
      Specifically, this action concerns the digital assets traded under the following symbols: 1INCH,
     AAVE, ACH, ADA, AGLD, ALGO, AMP, ANKR, ARPA, ATOM, AUCTION, AXS, BAL,
24   BAND, BAT, BNT, BOND, BTRST, CGLD, CLV, COMP, CRO, CRV, CTSI, CVC, DNT,
     DOGE, DOT, ENJ, EOS, FARM, FET, FIL, FORTH, GNT, GRT, GTC, ICP, IOTX, KEEP, KNC,LINK, LOOM, LRC, MANA,
25   MATIC, MKR, MLN, NKN, NMR, NU, OGN, OMG, ORN, OXT,PLA, POLY, QNT, QUICK, RARI, REN, REP, RLC, SHIB, SKL,
     SNX, SOL, STORJ, SUSHI,TRB, TRIBE, UMA, UNI, XLM, XRP, XTZ, XYO, YFI, ZRX, GYEN.
26   These assets are referred to collectively as the “Tokens.”

                                                1
      _____________________________________________________________________________________

         COMPLAINT FOR DAMAGES                                            Case No:
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 1   dealer. Because Coinbase’s sale of these tokens violates both federal and state law,
 2
     Plaintiffs, individually and personally transacted in the Tokens on the Coinbase
 3
     Platform (as defined herein) and the Coinbase Pro Platform (as defined herein)
 4

 5   during the Material Period, Plaintiff bring claims to recover damages,
 6   consideration paid for Tokens, trading fees and realized gains during trading taken
 7
     away by defendants, together with interest thereon, as well as attorneys’ fees and
 8
     costs, to the fullest extent permitted by law.
 9

10          2.    Coinbase sells digital assets or “crypto-assets” that exist on a
11
     blockchain, which is a decentralized digital ledger that records all transactions.
12
     Following the creation of Bitcoin, which was the first prominent digital asset, the
13

14
     number of digital assets has increased dramatically. There are many different kinds

15   of crypto assets; some closely resemble Bitcoin or other commodities; in that they
16
     are decentralized. For decentralized commodities, prices may rise or fall based
17
     upon supply and demand, but there is no centralized mechanism for creating more
18

19   such commodities.

20
            3.    By contrast, other digital assets are similar to traditional securities in
21

22
     that they represent one’s investment in a project that is to be undertaken with the

23   funds raised through the sale of the tokens. Like traditional securities, investors
24
     purchase these tokens with the hope that their value will increase as the issuer that
25
     created the token uses its managerial efforts to create some use—typically
26

                                                2
      _____________________________________________________________________________________

       COMPLAINT FOR DAMAGES                                    Case No:
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 1    described to investors in a “whitepaper”—that will give the token value. This
 2
      similarity with traditional securities is enhanced by the fact that these tokens are
 3
      offered to the public in an Initial Coin Offering (“ICO”) that is modeled on the IPO
 4

 5    of a traditional security.
 6
             4.    But, despite the fact that each of the Tokens is a security, none of them
 7

 8    is registered with the U.S. Securities and Exchange Commission (“SEC”) or with

 9    state regulators. This means that purchasers do not have access to the disclosures
10
      that accompany the issuances of traditional securities. Rather, investors receive—at
11
      most—only the so-called whitepapers, which describe the token, but do not satisfy
12

13    the requirements for a prospectus under federal and state securities laws. These

14    whitepapers are often supplemented by advertisements and social media postings
15
      that promote the token, including giveaways and other promotions.
16

17           5.     Coinbase operates two digital asset trading exchanges: Coinbase (the
18
      “Coinbase Platform”) and Coinbase Pro (the “Coinbase Pro Platform” and
19
      collectively with the Coinbase Platform, the “Coinbase Exchanges”). Crypto
20

21    securities, including the Tokens, have been and continue to be sold on the

22    Coinbase Exchanges. Because Coinbase brings together buy and sell orders for the
23
      Tokens and the Tokens are securities, the Coinbase Exchanges are securities
24
      exchanges, but Coinbase has not registered as a securities exchange under federal
25

26    or state law and is not subject to any exemption from such registration. Indeed,
                                                 3
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                   Case No:
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 1    SEC chair Gary Gensler recently told the Senate Banking Committee that Coinbase
 2
      had not registered with the SEC, “even though they have dozens of tokens that are
 3
      securities.”
 4

 5
             6.      In addition, Coinbase is an intermediary in every transaction it effects,
 6
      in contrast to electronic “bulletin boards” such as Craigslist, which match a buyer
 7

 8    and seller. Coinbase stands between the buyer and seller in each trade on its

 9    platform, meaning that is the actual seller of the unregistered securities that
10
      transact each day on its platform. Coinbase’s operating as an unregistered broker-
11
      dealer and exchange on which securities transact, and its offer and sale to investors
12

13    of those securities, violates federal and state securities laws.

14
                                             PARTIES
15

16           7.      Plaintiff Jose Flores is a citizen and resident of California. During the
17
      Material Period, Flores transacted in a number of the Tokens on the Coinbase
18

19
      Exchanges from California.

20
             8.      Defendant Coinbase Global, Inc. is a Delaware corporation.
21

22           9.      Defendant Coinbase, Inc. is a Delaware corporation that is a wholly
23
      owned subsidiary of Coinbase Global, Inc. Coinbase Global and Coinbase, Inc. are
24
      operated as one corporation, and users have no visibility into which entity they are
25

26    transacting with. Indeed, Coinbase refers to the two entities jointly as the
                                                 4
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                    Case No:
     Case 2:22-cv-08274-MWF-KS Document 1 Filed 11/12/22 Page 12 of 110 Page ID #:12


 1    “Company” in its SEC filings. Coinbase, Inc. and Coinbase Global share an office
 2
      in New York City.
 3

 4           10.     Defendant Brian Armstrong is the founder of Coinbase and the
 5
      CEO of both Coinbase Global and Coinbase, Inc. Upon information and belief, he
 6
      is a citizen and resident of California. He has been reported to own a 19-percent
 7

 8    stake in Coinbase. He has consistent and daily management of Coinbase’s

 9    operations, including the decision not to register as a securities exchange or a
10
      broker-dealer and the decision to list unregistered securities, including the Tokens.
11
      Armstrong has repeatedly and publicly discussed his role in Coinbase, including
12

13    his disagreements with the SEC’s enforcement of securities laws against Coinbase.

14
                                JURISDICTION AND VENUE
15

16           11.    This Court has subject matter jurisdiction over this action pursuant to
17
      28 U.S.C. §1332(d)(2)(A), because the claims in this action exceed the minimum
18

19
      required amounts exclusive of interest and costs, the Plaintiff is a citizen of a state

20    different from Defendants.
21
             12.    Jurisdiction of this Court is further founded upon 28 U.S.C. § 1331
22

23    because the Amended Complaint asserts claims under Sections 5 and 12(a)(1) of
24    the Securities Act of 1933 (the “Securities Act”), 15 U.S.C. §§ 77e, 77l(a)(1), 77o.
25

26

                                                 5
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                   Case No:
     Case 2:22-cv-08274-MWF-KS Document 1 Filed 11/12/22 Page 13 of 110 Page ID #:13


 1    This Court further has jurisdiction over the Securities Act claims pursuant to
 2
      Section 22 of the Securities Act, 15 U.S.C. § 77v.
 3

 4           13.    Jurisdiction of this Court is also founded upon Section 27 of the
 5
      Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. § 78aa(a),
 6
      which provides that federal courts have exclusive jurisdiction over violations of the
 7

 8    Exchange Act, including Sections 5,15(a)(1) and 29(b), 15 U.S.C. §§ 77e,

 9    78o(a)(1), 78cc(b).
10

11
             14.    Venue is proper in this judicial District pursuant to 28 U.S.C.

12    §1391(b) and (c) and 18 U.S.C. §1965, because Defendants transact business in,
13
      are found in, and/or have agents in this District, and because some of the actions
14
      giving rise to this complaint took place in this District. In particular, Coinbase has
15

16    an office located in New York City. Armstrong has also often traveled to New

17    York City to promote Coinbase, including attending crypto-conference Consensus
18
      2019 in May 2019, and attending a conference dedicated to non-fungible tokens
19
      (“NFTs”) in November 2021.
20

21
             15.    The Court has personal jurisdiction over Defendants. Defendants
22
      transacted business, maintained substantial contacts, and/or committed overt acts in
23

24    furtherance of the illegal scheme and conspiracy throughout the United States,

25    including in this District. The scheme and conspiracy have been directed at, and
26

                                                 6
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                   Case No:
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 1    have had the intended effect of, causing injury to persons residing in, located in, or
 2
      doing business throughout the United States, including in this District.
 3

 4            16.    The Court also had personal jurisdiction over Defendants and proper
 5
      venue over this action under the nationwide service of process provisions of
 6
      Section 22 of the Securities Act, 15 U.S.C. § 77v.
 7

 8
                                 SUBSTANTIVE ALLEGATIONS
 9

10    I.      DIGITAL ASSETS, COINBASE, AND CRYPTO-SECURITIES

11
              A.     The Blockchain and The Foundations of Digital Assets
12

13            17.    This case concerns crypto assets2. Crypto assets are digital assets that
14
      use a variety of cryptographic principles to secure transactions, control the creation
15
      of additional units, and verify their transfer. The key technology allowing the
16

17    creation of crypto assets is the blockchain.
18
              18.    The challenge that had previously prevented the creation of digital
19

20    assets is the need to allow for secure transfers to exactly one recipient at a time. In
21    general, digital files are transmitted by duplication; if someone emails a
22

23    photograph to a friend, both the sender and the recipient now have copies of the
      photograph. While that duplication is helpful for a photograph, it would quickly
24

25
      2
       One commonly used umbrella term that collectively describes the many different types of
      digital assets and the many hundreds of digital tokens in circulation is “cryptocurrencies.” In
26    order to avoid embedding any assumptions about the nature of these assets in this umbrella term,
      Plaintiffs herein use the term “crypto-assets” to describe the full range of digital assets.
                                                 7
       _____________________________________________________________________________________

          COMPLAINT FOR DAMAGES                                       Case No:
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 1    make any digital asset valueless through duplication and inflation, as one
 2    individual could send the same digital asset to many counterparties. The elaborate.

 3    measures used to prevent counterfeiting of physical currencies do not have
 4
      effective digital analogues.
 5

 6           19.    Bitcoin, which was the first prominent digital asset, solved this
 7    problem with a digital ledger system called the “blockchain,” which tracks the
 8
      ownership and transfer of every Bitcoin in existence. Each Bitcoin user has a
 9

10
      digital “address” used to receive Bitcoin. The Bitcoin blockchain lists, publicly,

11    every address and the number of Bitcoin associated with that address. By looking
12
      at the blockchain, anyone can see every Bitcoin transaction in which that address
13
      has engaged. providing a full transaction history of each Bitcoin, the blockchain
14

15    allows for the secure exchange of all Bitcoin. Any attempt to duplicate a Bitcoin or

16    to transfer it to multiple people at once would be futile, because a Bitcoin user
17
      could use the blockchain to verify each transaction involving that Bitcoin. There is
18
      thus no effective way to counterfeit Bitcoin.
19

20
             20.   The blockchain has become the foundational technology for crypto
21
      assets. While crypto assets vary tremendously, they generally rely on the
22

23    blockchain to ensure that transactions are secure and non-duplicable.

24
             21.    Control of crypto assets is attested primarily through control of
25
      cryptographic keys. These cryptographic keys have two components: a public key
26

                                                 8
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                  Case No:
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 1    and a private key. This cryptographic system of transfer and exchange is generally
 2
      the same across most crypto assets.
 3

 4           22.    To use Bitcoin as an example, the public key is used to produce the
 5
      Bitcoin address. A Bitcoin address is a destination for transfers of Bitcoin, like the
 6
      account number of a conventional bank account. Bitcoin addresses are long strings
 7

 8    of alphanumeric text, often abbreviated by a small group of numbers and letters

 9    appearing in the string, such as 1s5F or R3w9. A private key allows the owner of a
10
      Bitcoin address to access it, like a long PIN or password for a conventional bank
11
      account.
12

13
             23.    Those who wish to transfer Bitcoin need to know the recipient’s
14
      Bitcoin address, just as one transferring funds to a conventional bank account
15

16    needs to know the account number for that account. When they have the recipient’s

17    address, transferors can use their private keys to authorize the transfer of Bitcoin,
18
      just as one would use a PIN or password to authorize a transfer between traditional
19
      bank accounts.
20

21
             24.    A transfer of Bitcoin is public to the extent that anyone can see the
22
      transferor’s Bitcoin address, the recipient’s Bitcoin address, and the quantity of
23

24    assets transferred. That is, anyone could see that Bitcoin address 1s5F transferred

25    10.3 Bitcoin to Bitcoin address R3w9. The names of the individuals or entities that
26

                                                 9
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                  Case No:
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 1    control these addresses, on the other hand, are not recorded on the blockchain and
 2
      not accessible to the public.
 3

 4           B.    Crypto-Exchanges and Coinbase
 5
             25.    While the blockchain allows for secure and non-duplicable transfers
 6

 7    of digital assets, it does not do anything to connect users to each other or to
 8    automate both sides of a transfer. The desire for locations that enabled the trading
 9
      of digital assets led to the creation of crypto exchanges. Crypto exchanges emerged
10

11
      to enable smoother and faster trading between investors, just as stock and

12    commodities exchanges emerged to enable easy trading of securities.
13
             26.    There are two primary types of crypto exchange: decentralized
14

15    exchanges and centralized exchanges.
16
             27.    Decentralized exchanges may use the blockchain itself to match and
17

18    execute transactions among traders. There is no intermediary individual or

19    corporation that matches or clears transactions; instead, they use a blockchain
20
      technology called a “smart contract” to automatically facilitate trading. While
21
      different decentralized exchanges use different approaches, what they have in
22

23    common is that the crypto assets are transferred between individual accounts.
24    Thus, if Angela exchanges one Bitcoin for 10 Ethereum using a decentralized
25

26

                                                10
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                   Case No:
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 1    exchange, her one Bitcoin will be sent to Brian, another user on the platform, and
 2
      Brian’s 10 Ethereum will be sent to Angela.
 3

 4           28.    These decentralized exchanges resemble Craigslist in their operation.
 5
      Just like a purchase of a collectible baseball card on Craigslist involves one user
 6
      sending money and the other sending the card, so too do transactions on
 7

 8    decentralized exchanges involve customers sending each other the goods being

 9    transacted. These decentralized exchanges, like Craigslist, do not own or hold the
10
      assets in question—they simply provide a platform for exchanges between users,
11
      along with some features designed to facilitate trading (e.g., Craigslist’s creation
12

13    and maintenance of message boards organized by product type or a decentralized

14    exchange’s smart contracts), possibly in exchange for advertising revenue or a
15
      transaction fee.
16

17           29.   The other type of crypto-exchange—which includes the Coinbase
18
      Exchanges—is the centralized exchange. When a customer wishes to trade crypto
19
      assets on a centralized exchange, she must first create an account on that exchange.
20

21    The exchange will then provide that customer with a deposit address that the

22    exchange controls. When the customer deposits crypto assets into that deposit
23
      address, the exchange will credit her trading account with the corresponding crypto
24
      asset. The exchange will typically then transfer the crypto assets into one of its
25

26    other addresses for storage.
                                                11
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                  Case No:
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 1           30.   The trades conducted within that exchange, however, do not in fact
 2
      happen on the blockchain and do not actually involve the transfer of any assets
 3
      between users. Instead, it is Coinbase that faces both the buyer and the seller. Thus,
 4

 5    if Angela wishes to trade one Bitcoin for 10 Ethereum on Coinbase, Coinbase will
 6    update its internal records to debit Angela’s account one Bitcoin and credit it 10
 7
      Ethereum; no actual crypto assets are moved on the blockchain. Nor is
 8

 9    there any sense in which Angela’s Bitcoin is transferred to anyone other than
10
      Coinbase: while Coinbase may use other traders’ orders to determine the relative
11
      prices of crypto-assets and the rate at which they are exchanged, the only actual
12

13    transactions that occur are between (a) the buyer and Coinbase and (b) the seller

14    and Coinbase. The buyer and seller are not in privity with one another. When a
15
      user wants to withdraw crypto-assets from Coinbase or another centralized
16
      exchange, she tells the exchange the address into which she would like her crypto-
17

18    assets transferred. The exchange then debits the user’s account and transfers a
19    corresponding amount of crypto asset from the exchange’s reserves to that address.
20
      The withdrawn assets come directly from the centralized exchange.
21

22           31.   Both of the Coinbase Exchanges operate as centralized exchanges.
23
      They differ in the services and fees involved, but both place all deposited assets
24
      into a centralized wallet and reflect transactions only through internal updates to
25

26    each customer’s account.
                                                12
       _____________________________________________________________________________________

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 1           32.      The Coinbase Platform, which is marketed towards newer users,
 2
      allows users to place only market orders. That is, Coinbase Platform users can
 3
      place orders to buy, sell, or exchange digital assets at the digital assets’ market
 4

 5    price as displayed on the Coinbase Platform at the time of placement of the order.
 6
             33.      The following tables show the fees charged by Coinbase on the
 7

 8    Coinbase Platform:

 9
                                                FLAT FEES
10

11      TOTAL TRANSACTION AMOUNT                      TRANSACTION FEE
12
        $10 or less                                   $0.99
13
        More than $10, less than or equal to          $1.49
14      $25
15
        More than $25, less than or equal to          $1.99
16      $50
        More than $50, less than or equal to          $2.99
17      $200
18

19
                                               VARIABLE FEES
20

21      PAYMENT METHOD (PURCHASE)                     EFFECTIVE RATE OF
        OR PAYOUT METHOD (SALE)                       CONVERSION FEE (AFTER
22                                                    WAIVER)

23      UNITED STATES BANK ACCOUNT                    1.49%
24      COINBASE USD WALLET                           1.49%
25
        DEBIT CARD BUY                                3.99%
26

                                                13
       _____________________________________________________________________________________

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 1      INSTANT CARD WITHDRAWAL                       Up to 1.5% of any transaction and a
                                                      minimum fee of $0.55.
 2

 3

 4
             34.   The Coinbase Pro Platform is designed for use by advanced and active
 5
      digital asset traders. The Coinbase Pro Platform allows individuals to place three
 6

 7    types of orders: a market order to buy or sell a digital asset at the best available
 8
      price; a limit order to buy or sell a digital asset at a specific price or better, or a
 9
      stop order to buy or sell a digital asset if the market price of the digital asset falls to
10

11
      a specified price.

12
             35.    The Coinbase Pro Platform employs a volume-tiered, “maker-taker”
13
      fee schedule. Orders that provide liquidity (“maker” orders) are charged different
14

15    fees than orders that take liquidity (“taker” orders). A Coinbase Pro Platform user’s
16    fee tier is based upon total dollar value trading volume over the trailing 30-day
17
      period.
18

19           36.    A Coinbase Pro Platform user whose order is matched immediately
20
      with an order already on the order book is considered a “taker” because they have
21
      “taken” an order off the order book and removed liquidity from the market. A
22

23    Coinbase Pro Platform user whose order is not matched immediately with an order
24    on the order book is considered a “maker”, because their order is placed on the
25
      order book and provides market liquidity.
26

                                                14
       _____________________________________________________________________________________

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 1           37.     The Coinbase Pro Platform Maker-Taker fee schedule is as follows:
 2

 3
            PRICING TIER                       TAKER FEE            MAKER FEE

 4     Under $10,000                      0.50%                  0.50%
 5
        $ 10,000        $ 50,000          0.35%                  0.35%
 6
       $ 50,000         $ 100,000         0.25%                  0.15%
 7

 8     $ 100,000 - $ 1 Million            0.20%                  0.10%
 9     $1 Million - $ 20 Million          0.18%                  0.08%
10
       $ 20 Million-$ 100 Million         0.15%                  0.05%
11

12
       $ 100 Million - $ 300 Million      0.10%                  0.02%

13     $ 300 Million - $ 500 Million      0.08%                  0.00%
14
       $ 500 Million - $ 750 Million      0.06%                  0.00%
15
       $ 750 Million -$ 1 Billion         0.05%                  0.00%
16

17     $ 1 Billion                        0.04%                  0.00%

18

19

20           38.     Brian Armstrong, as the founder and current CEO of Coinbase, was

21    involved in the decision to run the Coinbase Exchanges as centralized exchanges.
22
      Both Coinbase Exchanges have been centralized from the time they were founded
23
      by Armstrong.
24

25
             C.      Crypto-Securities and Centralization
26

                                                15
       _____________________________________________________________________________________

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 1           39.     Bitcoin, in addition to pioneering the use of the blockchain, is also
 2
      notable for being decentralized and having a limited supply. These features are
 3
      core to the idea of Bitcoin, but, unlike the blockchain, are not universal among
 4

 5    crypto assets generally.
 6
             40.     Bitcoin maintains its blockchain and provides for new Bitcoin to enter
 7

 8    the economy through a consensus mechanism known as “mining.” Individuals

 9    “mine” Bitcoin by having sophisticated computer programs perform complex,
10
      resource-intensive automated verifications of past transactions, which are then
11
      added to the blockchain. Those who mine Bitcoin— “miners”—are rewarded with
12

13    new Bitcoin.

14
             41.     The mining process creates a scarcity that underlies the value of
15

16    Bitcoin. Bitcoin is designed so it gets harder and harder to mine. The more Bitcoin

17    produced, the more complex and resource-intensive the computations required for
18
      a miner to receive new Bitcoin. This process ensures that the supply of Bitcoin will
19
      not rise sharply or unpredictably, thus preventing a flood of new Bitcoin that could
20

21    undercut the value of the preexisting Bitcoin. Likewise, the number of Bitcoin that

22    miners receive as a reward is halved roughly every four years. This will continue
23
      until all Bitcoin have been mined, at which point miners will receive fees paid
24
      solely by network users.
25

26

                                                16
       _____________________________________________________________________________________

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 1           42.    Bitcoin’s distribution system thus roughly mirrors the availability of
 2
      natural resources like gold or silver. While the supply of Bitcoin continues to grow
 3
      as more of it is mined, the growth rate of that supply is logarithmic and will
 4

 5    eventually cease entirely, ensuring the market is not flooded and Bitcoin is not
 6    devalued. This ensures market participants that their Bitcoin will not diminish in
 7
      value due to sudden inflation.
 8

 9           43.   Bitcoin’s architecture ensures that it is entirely decentralized. The
10
      Bitcoin protocol was first released on October 31, 2008 through a whitepaper
11
      authored under the pseudonym Satoshi Nakamoto. That paper detailed novel
12

13    methods of using a peer-to-peer network to generate what it described as “a system

14    for electronic transactions without relying on trust.” While the first 50 Bitcoin were
15
      mined into existence by Satoshi Nakamoto three months after the release of the
16
      whitepaper, it has since attracted a community of many competing miners who
17

18    work to ensure the decentralization of the network.
19
             44.    Accordingly, there is no “Bitcoin Inc.” that administers or manages
20

21    Bitcoin as a whole. If Bitcoin were run on centralized servers, the underlying value

22    of Bitcoin would rely on the trust that individuals had in those operating the
23
      centralized servers. If Bitcoin’s creator could issue more Bitcoin at a whim, the
24
      value of Bitcoin would reflect that uncertainty. But because Bitcoin’s
25

26

                                                17
       _____________________________________________________________________________________

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 1    cryptographic protocols are self-sustaining and cannot be affected by the
 2
      originator, the success of Bitcoin does not hinge on any single entity.
 3

 4            45.    This decentralization distinguishes Bitcoin from other assets. The
 5
      value of corporate stocks and bonds, regardless of their structure, is tied to the
 6
      success of the issuing corporation. The value of government bonds is tied to the
 7

 8    credit of the government that issues them. The value of a fiat currency is tied to the

 9    issuing nation, reflecting factors like its economy, political stability, and the
10
      practices of its central bank. None of this is true for Bitcoin.
11

12            46.    The controlled supply and decentralized nature of Bitcoin is shared
13
      with some other crypto-assets, including Ethereum, which has become the second-
14
      largest crypto-asset by maker volume. Because of their decentralized nature,
15

16    Bitcoin and Ethereum have been recognized as commodities by courts and

17    regulators.3
18

19
              47.    Other crypto assets, however, are centralized and do not have a

20    controlled supply. Stable coins, for example, are intended to mirror real-world
21
      assets, such as the U.S. dollar or the price of gold. These stable coins can be
22
      created and managed by a single entity that has the power to create new coins on
23

24
      3
       See, e.g., Commodity Futures Trading Comm'n v. McDonnell, 287 F. Supp. 3d 213, 228
25    (E.D.N.Y.), adhered to on denial of reconsideration, 321 F. Supp. 3d 366 (E.D.N.Y. 2018)
26

                                                18
       _____________________________________________________________________________________

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 1    demand; the value of these coins derives from the promise that the issuing entity
 2
      will maintain a reserve of the asset to which the stable coin is pegged and only
 3
      issue new coins in response to new deposits into the reserve. Coinbase created and
 4

 5    manages one such stable coin, known as USDC.
 6
             48.   Another type of crypto-asset is the token or crypto-security. These
 7

 8    crypto assets are centralized and are not generated by mining or a similar

 9    decentralized process. Instead, they are generally created by a company, known as
10
      an issuer.
11

12           49.    Often, a crypto security will begin with an initial coin offering, or
13
      “ICO.” This ICO will allow members of the public to buy tokens directly from the
14
      issuer. On other occasions, the issuer will distribute some tokens for free to users
15

16    in an “airdrop” and then begin selling the tokens on the secondary market through

17    one or more exchanges. Regardless, the tokens, which were generated by the issuer
18
      themselves, do not derive value through algorithmic scarcity (and are thus unlike
19
      Bitcoin and Ethereum) and are not backed by a reserve (and are thus unlike stable
20

21    coins).

22
             50.    Instead, the nominal value proposition of a token comes from the
23

24    promise that the issuer will use the funds raised in the ICO to create an ecosystem

25    in which the token is useful; the token would then become valuable because it
26
      could be sold to those who wish to engage with the new ecosystem. In reality,
                                                19
       _____________________________________________________________________________________

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 1    many tokens issued during an ICO never have an actual use case because the issuer
 2
      never actually creates the relevant ecosystem; even for the tokens that eventually
 3
      acquire a nominal use, those tokens are overwhelmingly used to trade and
 4

 5
      possessed by individuals who will never interact with the ecosystem for which they
 6
      are designed, but instead acquire the tokens to speculate on their future market
 7

 8    value. In this way, they are similar to traditional securities, which entitle owners to

 9    voting rights for the board of directors but are often owned by those with no
10
      intention of casting such a vote and who hope to profit from the managerial efforts
11
      of those running the issuer.
12

13
             51.    The tokens issued in these ICOs are therefore investment contracts
14
      and securities because they represent the investment of money in a common
15

16    enterprise with a reasonable expectation of profits to be derived from the efforts of

17    others. Investors invest money by purchasing the tokens. The investors are
18
      participating in a common enterprise because their collective purchases fund the
19
      creation of the ecosystem that will supposedly give value to the tokens they have
20

21    purchased.

22
      (recognizing that Bitcoin can be regulated as commodity). On August 14, 2021, CFTC
23    Commissioner Brian Quintenz stated on Twitter that Ethereum was “a non-security commodity.”
      Brian Quintenz (@CFTCquintenz), Twitter (Aug. 14, 2021),
24    https://web.archive.org/web/20220311133718/https://twitter.com/CFTCquintenz/status/1426570
      174036168704?ref_src=twsrc%5Etfw%7Ctwcamp%5Etweetembed%7Ctwterm%5E1426570174
25    036168704%7Ctwgr%5E%7Ctwcon%5Es1_&ref_url=https%3A%2F%2Fwww.ledgerinsights.c
      om%2Fcftc-commissioner-clarifies-role-in-digital-assets-regulation%2F.
26

                                                20
       _____________________________________________________________________________________

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 1    They expect profits by reselling the tokens to others at a higher price when the
 2
      ecosystem is created. And they depend on the efforts of the issuer to create that
 3
      ecosystem
 4

 5
              52.   Because these tokens are securities, the SEC has repeatedly both
 6
      provided guidance and engaged in enforcement actions on that basis. The SEC first
 7

 8    examined how digital assets could qualify as securities under existing law in the

 9    SEC’s Report of Investigation Pursuant to Section 21(a) of the Securities Act of
10
      1934: The DAO (the “2017 DAO Report”) 4. In the 2017 DAO Report, the SEC
11
      examined the application of the Securities Act and the Exchange Act to the
12

13    issuance and trading of digital assets.

14
              53.   With respect to the application of the Securities Act to digital assets,
15

16    the SEC concluded (1) that digital assets may qualify as securities pursuant to the

17    Securities Act and the test articulated in SEC v. W.J. Howey Co., 328 U.S. 293
18
      (1946), and that (2) issuers of digital assets that fit within the definition of security
19

20

21
      4
        Report of Investigation Pursuant to Section 21(a) of the Securities Act of 1934: The DAO,
22
      SECURITIES AND EXCHANGE COMMISSION (Jul. 25, 2017),
23    https://web.archive.org/web/20220306215515/https://www.sec.gov/litigation/investreport/34-
      81207.pdf (“2017 DAO Report”).
24    5 The 2017 DAO report explained that “information about The DAO was ‘crucial’ to the DAO
      Token holders’ investment decision.” Id. at 16 (citing SEC v. Murphy, 626 F.2d 633, 643 (9th
25    Cir.1980)). “The DAO was ‘responsible for the success or failure of the enterprise,’ and
      accordingly was the entity about which the investors needed information material to their
26    investment decision.”Id. (quoting Murphy, 626 F.2d at 643–44). 6 Id. at 17.
                                                21
       _____________________________________________________________________________________

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 1    under the Howey test are subject to the registration and reporting requirements of
 2
      the Securities Act.5
 3

 4            54.   Similarly, the SEC concluded that digital asset trading platforms may
 5
      satisfy the meaning of “exchange” as defined by the Exchange Act if they
 6
      “provide[] users with an electronic system that matched orders from multiple
 7

 8    parties to buy and sell [digital assets] for execution based on non-discretionary

 9    methods.” 6 The SEC noted that a “system that meets the criteria of Rule 3b-16(a),
10
      and is not excluded under Rule 3b16(b), must register as a national securities
11
      exchange pursuant to Sections 5 and 6 of the Exchange Act or operate pursuant to
12

13    an appropriate exemption.”

14
              55.   Following an ICO boom in 2017, the SEC issued further guidance as
15

16    to the application of the Howey test to digital assets in a 2019 report entitled

17    Framework for “Investment Contract” Analysis of Digital Assets (the “Howey
18
      Framework Report”7 The report reiterated that whether a particular digital asset is
19
      an investment contract, and thus a security, requires an analysis of the facts and
20

21    circumstances surrounding the digital asset’s creation and issuance.

22

23

24

25    6
        Id. at 17.
      7 Framework for “Investment Contract” Analysis of Digital Assets, SECURITIES AND EXCHANGE
26    COMMISSION (Apr. 3, 2019), https://archive.ph/4wS5f (“Howey Framework Report”).
                                                22
       _____________________________________________________________________________________

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 1            56.   Following this guidance, the SEC has engaged in enforcement actions
 2
      on the basis that several different tokens are in fact securities. On September 30,
 3
      2019, Block.one, the issuer of the EOS digital asset (one of the Tokens in this
 4

 5    action), agreed to pay $24 million to settle charges that it had raised several billion
 6    dollars through an unregistered securities offering when it conducted the ICO for
 7
      the EOS token 8 Similarly, on December 22, 2020, the SEC brought charges against
 8
      Ripple Labs Inc. and two of its executives, alleging that they had raised over $1.3
 9

10    billion through an unregistered crypto-securities offering through the ICO of XRP
11
      (another of the Tokens in this action 9). The case is ongoing.
12

13            57.   On July 21, 2021, speaking to the American Bar Association, SEC

14    Chairman Gensler commented on the fact that digital asset trading platforms were
15
      offering tokens that are priced off of securities and resemble derivatives, stating:
16

17            “Make no mistake: It doesn’t matter whether it’s a stock token, a
              stable value token backed by securities, or any other virtual product
18
              that provides synthetic exposure to underlying securities. These
19            platforms—whether in the decentralized or centralized finance
              space—are implicated by the securities laws and must work within
20

21

22
      8
        See SEC Orders Blockchain Company to Pay $24 Million Penalty for Unregistered ICO, U.S.
23
      SECURITIES AND EXCHANGE COMMISSION (Sept. 30, 2019),
24    https://web.archive.org/web/20220311134238/https://www.sec.gov/news/press-release/2019-
      202.
25
      9
        See SEC Charges Ripple and Two Executives with Conducting $1.3 Billion Unregistered
      Securities Offering, U.S. SECURITIES AND EXCHANGE COMMISSION (Dec. 22, 2020),
26    https://web.archive.org/web/20220307145723/https://www.sec.gov/news/press-release/2020-
      338.
                                                23
       _____________________________________________________________________________________

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 1    our securities regime.” 10
 2

 3
             58.    On August 3, 2021, SEC Chairman Gensler commented on the state

 4    of the digital asset market:
 5
             [R]ight now, we just don’t have enough investor protection in crypto
 6
             … [f]rankly, at this time, it’s more like the Wild West … I believe
 7           we have a crypto market now where many tokens may be
             unregistered securities, without required disclosures or market
 8           oversight … [t]his leaves prices open to manipulation. This leaves
 9           investors vulnerable …. While each token’s legal status depends
             on its own facts and circumstances, the probability is quite remote
10           that, with 50 or 100 tokens, any given platform has zero
11
             securities 11.

12
             59.    As digital asset popularity exploded, Coinbase listed digital assets,
13
      including the Tokens, that qualify as investment contracts, and thus securities, in
14

15    order to earn fees from user transactions in these assets. Coinbase listed these
16    Tokens despite knowledge of their status as securities.
17

18           60.    Coinbase’s CEO, Brian Armstrong, has directly commented on the

19    possibility that Coinbase may be selling securities. In September 2021, in response
20
      to an SEC enforcement action regarding a Coinbase lending program, Armstrong
21

22    10
        Nikhilesh De, SEC Chair Hints Some Stablecoins Are Securities, NASDAQ (July 21, 2021),
23    https://web.archive.org/web/20220311134752/https://www.nasdaq.com/articles/sec-chair-
      hintssome-stablecoins-are-securities-2021-07-21.
24
      11
        Will Gottsegen, SEC’s Gensler: Crypto Market Filled with Unregistered Securities, Prices
25    ‘Open to Manipulation’, DECRYPT (Aug. 3, 2021),
      https://web.archive.org/web/20220311134929/https://decrypt.co/77574/gary-gensler-
26    cryptomarket-securities-aspen-institute (emphasis added).
                                                24
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 1    tweeted that the SEC was engaging in “sketchy behavior.” He criticized the SEC
 2
      for objecting to Coinbase’s crypto-backed lending program and noted that he had
 3
      attempted to meet with the SEC to discuss the issue. Coinbase nonetheless
 4

 5    cancelled the SEC-challenged program. But Armstrong did not register Coinbase
 6    as a securities exchange or a broker-dealer under state or federal law.
 7

 8        D. Coinbase’s Failure to Register as a Securities Exchange or
      Broker-Dealer
 9
             61.    Despite selling tokens that are crypto-securities, Coinbase has not
10

11
      registered as a securities exchange or broker-dealer. Indeed, on September 14,

12    2021, SEC Chairman Gary Gensler spoke at a Senate Banking Committee hearing
13
      and noted that the Coinbase Exchanges have not registered as national securities
14
      exchanges “even though they have dozens of tokens that might be securities 12”
15

16           62.    Each of the Coinbase Exchanges is a securities exchange as the term
17
      is defined in the Exchange Act. Section 3(a)(1) of the Exchange Act defines the
18

19
      term “exchange” as:

20
             any organization, association, or group of persons, whether
21           incorporated or unincorporated, which constitutes, maintains, or
             provides a marketplace or facilities for bringing together purchasers
22
             and sellers of securities or for otherwise performing with respect to
23           securities the functions commonly performed by a stock exchange
             as that term is generally understood, and includes the marketplace
24

25
      12
        Jeff John Roberts, SEC Chair: Coinbase Lists ‘Dozens of Tokens that Might Be Securities’,
      DECRYPT (Sept. 14, 2021),
26    https://web.archive.org/web/20220311192025/https://decrypt.co/80924/gensler-coinbase-
      secsecurities.
                                                25
       _____________________________________________________________________________________

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 1    and the market facilities maintained by such exchange. 15 U.S.C.
 2
      § 78c.

 3
             63.    According to the Exchange Act, any organization, association, or
 4
      group operating as an Exchange must register as a “national securities exchange”
 5

 6    with the SEC and must make periodic disclosures to the SEC, unless the SEC
 7    determines an exemption is warranted.
 8

 9           64.    Section 5 of the of the Exchange Act makes failing to comply with

10    the Exchange Act’s registration and reporting requirements illegal:
11

12
              It shall be unlawful for any broker, dealer, or exchange, directly or
              indirectly, to make use of the mails or any means or instrumentality
13            of interstate commerce for the purpose of using any facility of an
              exchange within or subject to the jurisdiction of the United States to
14
              effect any transaction in a security, or to report any such transaction,
15            unless such exchange (1) is registered as national securities
              exchange under section 78f of this title, or (2) is exempted from such
16            registration upon application by the exchange because, in the
17            opinion of the Commission, by reason of the limited volume of
              transactions effected on such exchange, it is not practicable and not
18            necessary or appropriate in the public interest or for the protection
19
              of investors to require such registration. 15 U.S. Code § 78e -
              Transactions on unregistered exchanges (emphasis added).
20

21           65. Exchange Act Rule 3b-16(a) provides a functional test to assess
22
      whether a trading system meets the definition of exchange under Section 3(a)(1) of
      the Exchange Act. Exchange Act Rule 3b-16(a) provides that an organization,
23
      association, or group of persons shall be considered to constitute, maintain, or
24    provide “a market place or facilities for bringing together purchasers and sellers of
25    securities or for otherwise performing with respect to securities the functions
      commonly performed by an exchange” as those terms are used in Section 3(a)(1)
26
      of the Exchange Act if such an organization, association, or group of persons: (1)
                                                26
       _____________________________________________________________________________________

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 1    brings together the orders for securities of multiple buyers and sellers; and (2) uses
 2    established, nondiscretionary methods (whether by providing a trading facility or
      by setting rules) under which such orders interact with each other, and the buyers
 3
      and sellers entering such orders agree to the terms of the trade.13
 4

 5             66.      A system that meets the criteria of Exchange Act Rule 3b-16(a), and
 6
      that is not excluded under Exchange Act Rule 3b-16(b), must register, pursuant to
 7
      Section 5 of the Exchange Act, as a national securities exchange under Section 6 of
 8

 9    the Exchange Act 14 or operate pursuant to an appropriate exemption One of the

10    available exemptions is for Alternative Trading Systems, or “ATS.” 15 Exchange
11
      Act Rule 3a1-1(a)(2) exempts from the definition of “exchange” under Section
12
      3(a)(1) an organization, association, or group of persons that complies with
13

14    Regulation ATS.16
15

16

17
      13
         See 17 CFR § 240.3b-16(a). The purpose of Rule 3b-16(b) is to explicitly exclude certain
18    systems that the SEC believed did not meet the exchange definition. These systems include
      systems that merely route orders to other execution facilities and systems that allow persons to
19    enter orders for execution against the bids and offers of a single dealer system. See Securities
      Exchange Act Rel. No. 40760 (Dec. 8, 1998), 63 FR 70844 (Dec. 22, 1998) (Regulation of
20    Exchanges and Alternative Trading Systems, hereinafter “Regulation ATS Adopting Release”),
      at 70852.
21    14
         See 15 U.S.C. §§ 78e-78f. A “national securities exchange” is an exchange registered as such
22    under Section 6 of the Exchange Act.
      15
         15 Rule 300(a) of Regulation ATS provides that an ATS is “any organization, association, person,
23    group of persons, or system: (1) [t]hat constitutes, maintains, or provides a marketplace or
      facilities for bringing together purchasers and sellers of securities or for otherwise performing with respect to
      securities the functions commonly performed by a stock exchange within the meaning of [Exchange Act Rule 3b-
24    16]; and (2) [t]hat does not: (i) [s]et rules governing the conduct of subscribers other than the conduct of subscribers’
      trading on such [ATS]; or (ii) [d]iscipline subscribers other than by exclusion from trading.”
25    16
         See 17 CFR 240.3a1-1(a)(2). Rule 3a1-1 also provides exemptions from the definition of
      “exchange” for any ATS operated by a national securities association, and any ATS not required
26    to comply with Regulation ATS pursuant to Rule 301(a) of Regulation ATS. See 17 CFR 240.3a1-1(a)(1) and (3).

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        COMPLAINT FOR DAMAGES                                                         Case No:
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 1               67.    Regulation ATS requires an ATS to, among other things, register as a
 2
      broker-dealer, file a Form ATS with the Commission to notice its operations, and
 3
      establish written safeguards and procedures to protect subscribers’ confidential
 4

 5
      trading information. An ATS that complies with Regulation ATS and operates
 6
      pursuant to the Rule 3a1-1(a)(2) exemption is not required by Section 5 to register
 7

 8    as a national securities exchange.

 9
                68.     The Coinbase Exchanges are exchanges under these regulations. They
10

11
      perform the functions of a traditional exchange by bringing together buy orders

12    and sell orders and use established and nondiscretionary methods to set the prices
13
      at which these orders are executed.
14

15              69.     Coinbase is also obligated to register as a broker-dealer. Section 15 of
16    the Exchange Act requires that any person operating as a broker in U.S. securities
17
      markets must register with the SEC and obtain membership with, and be regulated
18

19
      by, the Financial Industry Regulatory Authority, or “FINRA,” or operate subject to

20    an exemption from registration17.
21
                70.     The Exchange Act defines a “broker” as “any person engaged in the
22

23    business of effecting transactions in securities for the account of others18.”
24

25

26    17
           15 U.S.C. § 78o(a)(1), (a)(8).
      18
           15 U.S.C. § 78c(a)(4).
                                                28
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           COMPLAINT FOR DAMAGES                                   Case No:
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 1    Brokerage activity is typically evidenced by persons acting as agents on behalf of
 2
      others in “key points in the chain of [securities] distribution19.”
 3

 4          71.      Brokers typically operate “in the business” of assisting issuers
 5
      seeking to conduct securities offerings and/or investors seeking to buy or sell
 6
      securities during either an initial offering or on the secondary market—frequently
 7

 8    in exchange for transaction-based compensation20.

 9
             72.    The Exchange Act defines “dealer” to include an entity that is
10

11
      “engaged in the business of buying and selling securities … for such person’s own

12    account,” insofar as such transactions are part of that person’s “regular business. 21
13
             73.     Coinbase effects transactions in the Tokens for the accounts of its
14

15    customers; it is thus obligated to register with the SEC as a broker-dealer but has
16    failed to do so.
17

18    II. COINBASE LISTS AND SELLS SECURITIES BUT IS NOT
      REGISTERED AS A SECURITIES EXCHANGE
19

20
             A.     DIGITAL ASSETS LISTED ON COINBASE ARE SECURITIES
21

22

23

24
      19
         See, e.g., Mass. Fin. Servs., Inc. v. Sec. Inv’t Prot. Corp., 411 F. Sup. 411, 415 (D. Mass.)
      aff’d.545 F.2d 754 (1st Cir. 1976), cert. denied, 431 U.S. 904 (1977); SEC v. Nat’l Exec.
25    Planners, Ltd.,503 F. Supp. 1066, 1073 (M.D.N.C. 1980).
      20
         See, e.g., SEC v. Martino, 255 F. Supp. 2d 268, 283 (S.D.N.Y. 2003); SEC v. Margolin, No. 92
26    CIV. 6307 (PKL), 1992 WL 279735, at *5 (S.D.N.Y. Sept. 30, 1992).
      21
         15 U.S.C. § 78c(a)(5).
                                                29
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        COMPLAINT FOR DAMAGES                                        Case No:
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 1           Coinbase has listed the Tokens on its Digital Asset Platforms. Analysis of
 2
      the facts and circumstances surrounding the Tokens shows that they are investment
 3
      contracts under SEC v.W.J. Howey Co., 328 U.S. 293 (1946), and are therefore
 4

 5    securities.
 6
                    1.    1INCH
 7

 8
             73.    1Inch (“1INCH”) is a token created by the 1Inch Foundation. The first
 9
      bona fide public offering of 1Inch occurred on or about December 24, 2020.
10

11                  2.     AAVE
12

13           74.    Aave (“AAVE”) is a token created by Aave. The first bona fide public

14    offering of AAVE occurred on or about October 2, 2020.
15

16
                    3.    ACH

17
             75.    Alchemy Pay (“ACH”) is a token created by Alchemy Pay. The first
18
      bona fide public offering of ACH occurred on or about September 7, 2020.
19

20
                    4.    ADA
21

22           76.    Cardano (“ADA”) is a token that was first bona fide offered to the
23
      public in or about September 2017.
24

25                  5.    AGLD

26

                                                30
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        COMPLAINT FOR DAMAGES                                  Case No:
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 1           77.    Adventure Gold (“AGLD”) is a token created by Loot. The first bona
 2
      fide public offering of Adventure Gold occurred on or about September 2, 2021.
 3

 4                  6.    ALGO
 5
             78.   Algorand (“ALGO”) is a token created, developed, issued, and
 6

 7    distributed by Algorand, Inc. and the Algorand Foundation (together the “Algorand
 8    Entities”). ALGO was first bona fide offered to the public in the United States in or
 9
      about June 2019.
10

11                  7.    AMP
12

13           79.    Amp (“AMP”) is a token that was first bona fide offered to investors

14    on or about September 8, 2020. AMP became available for trading on the Coinbase
15
      Exchanges on or about June 10, 2021. Since then, AMP has continuously been
16
      traded on the Coinbase Exchanges.
17

18
                    8.     ANKR
19

20           80.    Ankr (“ANKR”) is a token created by Ankr. The first bona fide public
21    offering of ANKR occurred on or about August 31, 2018.
22

23                  9.    ARPA

24
             81.   ARPA Chain (“ARPA”) is a token created by Arpachain. The first
25

26
      bona fide public offering of ARPA occurred on or about April 25, 2019.

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        COMPLAINT FOR DAMAGES                                  Case No:
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 1                 10.    ATOM
 2

 3
             82.    Cosmos (“ATOM”) is a token created, issued, and distributed by the

 4    developers of the Cosmos network. The first bona fide public offering of ATOM
 5
      occurred in or about April 2017.
 6

 7                 11.    AUCTION
 8
             83.    Bounce Token (“AUCTION”) is a token created by Bounce. The first
 9

10    bona fide public offering of AUCTION occurred on or about January 14, 2021.

11
                   12.    AXS
12

13           84.    Axie Infinity Shards (“AXS”) is a token created, issued, and
14
      distributed by Sky Mavis. AXS was first bona fide offered to the public on or
15
      about November 4, 2020 and became available for trading on the Coinbase
16

17    Platform on or about August 13, 2021.
18
                   13.    BAL
19

20
             85.    Balancer (“BAL”) is a token created by Balancer Labs. The first bona
21
      fide public offering of BAL occurred on or about June 1, 2020.
22

23
                   14.    BAND
24

25

26

                                                32
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        COMPLAINT FOR DAMAGES                                  Case No:
     Case 2:22-cv-08274-MWF-KS Document 1 Filed 11/12/22 Page 40 of 110 Page ID #:40


 1          86.    Band Protocol (“BAND”) is a token created by the developer of the
 2
      Band Protocol. The first bona fide public offering of BAND occurred on or about
 3
      September 17, 2019.
 4

 5
                   15.   BAT
 6

 7           87.    Basic Attention Token (“BAT”) is a token created by Brave Software.
 8
      The first bona fide public offering of BAT occurred on or about May 31, 2017.
 9

10                 16.    BNT

11
             88.    Bancor Network Token (“BNT”) is a token created by Bancor. The
12

13    first bona fide public offering of BNT occurred on or about June 11, 2017.

14
                   17.    BOND
15

16           89.   BarnBridge (“BOND”) is a token created by BarnBridge. The first
17
      bona fide public offering of BOND occurred on or about October 26, 2020.
18

19                 18.    BTRST
20
             90.    Braintrust (“BTRST”) is a token created by Braintrust. The first bona
21

22    fide public offering of BTRST occurred on or about September 15, 2021.
23
                   19.    CGLD
24

25

26

                                                33
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        COMPLAINT FOR DAMAGES                                  Case No:
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 1           91.   Celo (“CGLD”) is a token created by Celo. The first bona fide public
 2
      offering of CGLD occurred on or about May 11, 2020.
 3

 4                  20.   CLV
 5
             92.    Clover Finance (“CLV”) is a token created by Clover Inc. The first
 6

 7    bona fide public offering of CLV occurred on or about April 20, 2021.
 8
                    21.   COMP
 9

10
             93.    Compound (“COMP”) is a token created, issued, and distributed by
11
      Compound Labs. It was first bona fide offered to the public on or about June 15,
12

13    2020. COMP became available for trading on the Coinbase Pro Platform on or

14    about June 23, 2020. COMP became available for trading on the Coinbase
15
      Platform on or about June 25, 2020.
16

17                  22.   CRO
18
             94.   Crypto.com Coin (“CRO”) is a token created, developed, issued, and
19

20    distributed by CRO Protocol Labs, also known as Crypto.com (“Crypto.com”).
21    CRO was first bona fide offered to the public in or around November 2018.
22

23    CRO became available for trading on the Coinbase Pro Platform on or about

24    November 2, 2021. CRO became available for trading on the Coinbase Platform on
25
      or about November 3, 2021.
26

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        COMPLAINT FOR DAMAGES                                  Case No:
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 1                  23.   CRV
 2

 3
             95. Curve DAO Token (“CRV”) is a token created by Curve. The first

 4    bona fide public offering of CRV occurred on or about August 15, 2020.
 5
                    24.   CTSI
 6

 7
             96.    Cartesi (“CTSI”) is a token created by Cartesi. The first bona fide
 8
      public offering of CTSI occurred on or about April 21, 2020.
 9

10
                    25.   CVC
11

12           97.    Civic (“CVC”) is a token created by Civic Technologies, Inc. (“Civic
13    Technologies”). The first bona fide public offering of CVC occurred on or about
14
      June 20, 2017.
15

16                  26.   DNT
17

18
             98.    district0x (“DNT”) is a token created by district0x. The first bona fide

19    public offering of DNT occurred on or about August 1, 2017.
20
                    27. DOGE
21

22
             99.    Dogecoin (“DOGE”) is a token that was first bona fide offered to the
23
      public in or about December 2013.
24

25
                    28.   DOT
26

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        COMPLAINT FOR DAMAGES                                  Case No:
     Case 2:22-cv-08274-MWF-KS Document 1 Filed 11/12/22 Page 43 of 110 Page ID #:43


 1            100. Polkadot (“DOT”) is a token created by Gavin Wood (a co-founder of
 2
      Ethereum) alongside co-founders Robert Habermeier and Peter Czaban in 2016.
 3
      DOT’s main blockchain, the relay chain, became live on or about May 26, 2020.
 4

 5    The first bona fide public offering of DOT occurred on or about July 27, 2020.
 6    DOT became available for trading on the Coinbase Exchanges on or about June 16,
 7
      2021.
 8

 9                  29.   ENJ
10

11
              101. Enjin Coin (“ENJ”) is a token created by Enjin. The first bona fide

12    public offering of ENJ occurred on or about November 1, 2017.
13
                    30.   EOS
14

15
              102. EOS coin (“EOS”) is a token created, issued, and distributed by
16
      Block.one. EOS was first bona fide offered to investors in or around June 2017.
17

18    EOS became available for trading on the Coinbase Pro Platform on or about April

19    8, 2019. EOS became available for trading on the Coinbase Platform on or about
20
      May 30, 2019. Since becoming available on the Coinbase Platform, EOS has
21
      continuously been traded on the Coinbase Exchanges.
22

23
                    31.   FARM
24

25

26

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        COMPLAINT FOR DAMAGES                                  Case No:
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 1            103. Harvest Finance (“FARM”) is a token created by Harvest Finance.
 2
      The first bona fide public offering of FARM occurred on or about September 1,
 3
      2020.
 4

 5
                    32.    FET
 6

 7            104. Fetch.ai (“FET”) is a token created by Fetch.ai. The first bona fide
 8
      public offering of FET occurred on or about February 25, 2019.
 9

10                  33.    FIL

11
              105. Filecoin (“FIL”) is a token created by Protocol Labs. The project was
12

13    launched in August 2017.

14
                    34.    FORTH
15

16            106. Ampleforth (“FORTH”) is a token created by Ampleforth. The first
17
      bona fide public offering of FORTH occurred on or about April 13, 2019.
18

19                  35.    GNT
20
              107. Golem (“GNT”) is a token created by Golem Network. The first bona
21

22    fide public offering of GNT occurred on or about November 11, 2016.
23
                    36.    GRT
24

25

26

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        COMPLAINT FOR DAMAGES                                  Case No:
     Case 2:22-cv-08274-MWF-KS Document 1 Filed 11/12/22 Page 45 of 110 Page ID #:45


 1           108. The Graph (“GRT”) is a token created, issued, and distributed by the
 2
      Graph Foundation. GRT was first bona fide offered to the public on or about
 3
      October 23, 2020.
 4

 5
                    37.   GTC
 6

 7           109. Gitcoin (“GTC”) is a token created by Gitcoin.co. The first bona fide
 8
      public offering of GTC occurred on or about May 1, 2021.
 9

10                  38.   ICP

11
             110. Internet Computer (“ICP”) is a token created, developed, issued, and
12

13    distributed by Dfinity Foundation (“Dfinity”), a Swiss nonprofit organization. ICP

14    was first bona fide offered to investors on or about May 10, 2021.
15

16
                    39.   IOTX

17
             111. IoTeX (“IOTX”) is a token created by IoTeX. The first bona fide
18
      public offering of IOTX occurred on or about May 23, 2018.
19

20
                    40.   KEEP
21

22           112. Keep Network (“KEEP”) is a token created by Keep SEZC. The first
23
      bona fide public offering of KEEP occurred on or about April 27, 2020.
24

25                  41.   KNC

26

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        COMPLAINT FOR DAMAGES                                  Case No:
     Case 2:22-cv-08274-MWF-KS Document 1 Filed 11/12/22 Page 46 of 110 Page ID #:46


 1           113. Kyber Network (“KNC”) is a token created by the developers of the
 2
      Kyber Network. The first bona fide public offering of KNC occurred on or about
 3
      September 15, 2017.
 4

 5
                    42.   LINK
 6

 7           114. Chainlink (“LINK”) is a token created, developed, issued, and
 8    distributed by Chainlink Labs. LINK was first bona fide offered to the public in or
 9
      about September 2017. LINK became available for trading on the Coinbase Pro
10

11
      Platform on or about June 26, 2019. LINK became available for trading on the

12    Coinbase Platform on or about June 28, 2019.
13
                    43.   LOOM
14

15
             115. Loom (“LOOM”) is a token created by Loom Network. The first bona
16
      fide public offering of LOOM occurred on or about January 10, 2018.
17

18
                    44.   LRC
19

20           116. Loopring (“LRC”) is a token created by Loopring. The first bona fide
21    public offering of LRC occurred on or about August 1, 2017.
22

23                  45.   MANA

24
             117. Decentraland (“MANA”) is a token created, issued, and distributed by
25

26
      the Decentraland Foundation. MANA was first bona fide offered to the public in or

                                                39
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        COMPLAINT FOR DAMAGES                                  Case No:
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 1    about August 2017. MANA became available for trading on the Coinbase Pro
 2
      Platform on or about December 10, 2018. MANA became available for trading on
 3
      the Coinbase Platform on or about November 5, 2020.
 4

 5
                    46.   MATIC
 6

 7           118. Polygon (“MATIC”) is a token that was first bona fide offered to
 8    investors as the native token of the MATIC network in or about October 2017.
 9
      MATIC was rebranded as Polygon on February 9, 2021.
10

11                  47.   MKR
12

13           119. Maker (“MKR”) is a token created by MakerDAO. The first bona fide

14    public offering of MKR occurred on or about January 30, 2017.
15

16
                    48. MLN

17
             120. Enzyme (“MLN”) is a token created by Enzyme. The first bona fide
18
      public offering of MLN occurred on or about February 15, 2017.
19

20
                    49. NKN
21

22           121. NKN coin (“NKN”) is a token created by New Kind of Network. The
23
      first bona fide public offering of NKN occurred on or about April 19, 2018.
24

25                  50. NMR

26

                                                40
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        COMPLAINT FOR DAMAGES                                  Case No:
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 1           122. Numeraire (“NMR”) is a token created by Numerai. The first bona
 2
      fide public offering of Numeraire occurred on or about June 20, 2017.
 3

 4                 51.    NU
 5
             123. NuCypher (“NU”) is a token created by NuCypher. The first bona fide
 6

 7    public offering of NU occurred on or about September 30, 2020.
 8
                   52.    OGN
 9

10
             124. Origin (“OGN”) is a token created by the developers of the Origin
11
      Protocol. The first bona fide public offering of OGN occurred on or about January
12

13    8, 2020.

14
                   53.    OMG
15

16           125. OMG Network (“OMG”) is a token created by the OMG Foundation.
17
      The first bona fide public offering of OMG occurred on or about June 23, 2017.
18

19                 54.    ORN
20
             126. Orion Protocol (“ORN”) is a token created by Orion Protocol Ltd.
21

22    The first bona fide public offering of ORN occurred on or about July 14, 2020.
23
                    55.   OXT
24

25

26

                                                41
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        COMPLAINT FOR DAMAGES                                  Case No:
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 1           127. Orchid (“OXT”) is a token created by Orchid. The first bona fide
 2
      public offering of OXT occurred on or about May 7, 2019.
 3

 4                  56.   PLA
 5
             128. PlayDapp (“PLA”) is a token created by PlayDapp. The first bona
 6

 7    fide public offering of PLA occurred on or about October 19, 2020.
 8
                    57.   POLY
 9

10
             129. Polymath (“POLY”) is a token created by Polymath. The first bona
11
      fide public offering of POLY occurred on or about January 12, 2018.
12

13                  58.   QNT
14

15           130. Quant (“QNT”) is a token created, issued, and distributed by the

16    Quant Network. was first bona fide offered to the public in or about May 11, 2018.
17

18
                    59.   QUICK

19
             131. QuickSwap (“QUICK”) is a token created by QuickSwap. The first
20
      bona fide public offering of QUICK occurred on or about February 23, 2021.
21

22
                    60.   RARI
23

24           132. Rarible (“RARI”) is a token created, issued, and distributed by
25
      Rarible Inc. Was first bona fide offered to the public on or about July 15, 2020.
26

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 1                  61.   REN
 2

 3
             133. Ren (“REN”) is a token created by Ren. The first bona fide public

 4    offering of REN occurred on or about February 3, 2018.
 5
                    62.   REP
 6

 7
             134. Augur (“REP”) is a token created by the Forecast Foundation. The
 8
      first bona fide public offering of REP occurred on or about August 14, 2015.
 9

10
                    63.   RLC
11

12           135. iExec RLC (“RLC”) is a token created by iExec. The first bona fide
13    public offering of RLC occurred on or about April 19, 2017.
14

15                  64.   SHIB

16
             136.    Shiba Inu (“SHIB”) is a token that was first bona fide offered to
17

18
      investors on or about August 1, 2020. SHIB became available for trading on the

19    Coinbase Pro Platform on or about September 9, 2021. SHIB became available for
20
      trading on the Coinbase Platform on or about September 16, 2021. Since becoming
21
      available on the Coinbase Platform, SHIB has continuously been traded on the
22

23    Coinbase Exchanges.

24
                    65.   SKL
25

26

                                                43
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        COMPLAINT FOR DAMAGES                                  Case No:
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 1           137. Skale (“SKL”) is a token created by SKALE Network. The first bona
 2
      fide public offering of SKL occurred on or about September 3, 2020.
 3

 4                  66.   SNX
 5
             138. Synthetix (“SNX”) is a token created by Synthetix. The first bona fide
 6

 7    public offering of SNX occurred on or about February 28, 2018.
 8
                    67.   SOL
 9

10
             139. Solana (“SOL”) is a token created, developed, issued, and distributed
11
      by Solana Labs, Inc. (“Solana Labs”) and the Solana Foundation (together with
12

13    Solana Labs, the “Solana Entities”). SOL was first bona fide offered to the public

14    in the United States in or about April 2020.
15

16
                    68.   STORJ

17
             140. Storj (“STORJ”) is a token created by Storj Labs, Inc. The first bona
18
      fide public offering of STORJ occurred on or about May 24, 2017.
19

20
                    69.   SUSHI
21

22           141. SushiSwap (“SUSHI”) is a token created by Sushi. The first bona fide
23
      public offering of SushiSwap occurred on or about August 27, 2020.
24

25                  70.   TRB

26

                                                44
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        COMPLAINT FOR DAMAGES                                  Case No:
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 1           142. Tellor (“TRB”) is a token created by Tellor. The first bona fide public
 2
      offering of TRB occurred on or about November 18, 2019.
 3

 4                  71.   TRIBE
 5
             143. Tribe (“TRIBE”) is a token created by Fei Labs. The first bona fide
 6

 7    public offering of TRIBE occurred on or about April 2, 2021.
 8
                    72.   UMA
 9

10
             144. UMA token (“UMA”) is a token created by UMA. The first bona fide
11
      public offering of UMA occurred on or about April 29, 2020.
12

13                  73.   UNI
14

15           145. Uniswap (“UNI”) is a token created, developed, issued, and

16    distributed by Uniswap Labs. was first bona fide offered to the public in the United
17
      States in or about September 2020.
18

19                  74.   XLM
20
             146. Stellar Lumen (“XLM”) is a token created, issued, and distributed by
21

22    the Stellar Development Foundation (“SDF”). was first bona fide offered to the
23
      public in or about July 2014. XLM became available for trading on the Coinbase
24
      Pro Platform on or about March13, 2019. XLM became available for trading on the
25

26
      Coinbase Platform on or about March 18, 2019.

                                                45
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 1                  75.   XRP
 2

 3
             147. Ripple (“XRP”) is a token created, issued, and distributed by Ripple

 4    Labs Inc. (“Ripple”). Coinbase describes XRP as follows: “XRP is the
 5
      cryptocurrency used by the Ripple payment network. Built for enterprise use, XRP
 6
      aims to be a fast, cost-efficient cryptocurrency for cross-border payments.” XRP
 7

 8    was first bona fide offered to investors in 2013. It became available for trading on

 9    the Coinbase Exchanges on or about February 28, 2019.
10

11
                    76.   XTZ

12
             148. Tezos (“XTZ”) is a token created, issued, and distributed by the
13
      Tezos Foundation. XTZ was first bona fide offered to the public in or about July
14

15    2017. became available for trading on the Coinbase Pro Platform on or about
16    August 5, 2019.
17

18                  77.   XYO

19
             149. XYO coin (“XYO”) is a token created by XYO Network. The first
20

21    bona fide public offering of XYO occurred on or about May 21, 2018.

22
                    78.   YFI
23

24           150. yearn.finance (“YFI”) is a token created, issued, and distributed by
25
      Yearn Finance. YFI was first bona fide offered to the public on or about December
26

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        COMPLAINT FOR DAMAGES                                  Case No:
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 1    30, 2020. YFI became available for trading on the Coinbase Pro Platform on or
 2
      about September 15, 2020.
 3

 4                  79.   ZRX
 5
             151. 0x (“ZRX”) is a token created by 0x. The first bona fide public
 6

 7    offering of ZRX occurred on or about August 15, 2017.
 8
                    80.   GYEN
 9

10
             152. GYEN (“GYEN”) is a token. The first bona fide public offering
11
      occurred on or about March 2021. GYEN became available for trading on
12

13    Coinbase Platform on or about November 2021.

14
             153. Plaintiff’s own statements show that he was motivated to buy the
15
      Tokens previously described primarily by the expectation of profit, not by any
16

17    direct utility of those tokens may have now or in the future.
18
             154. Based on the facts alleged above, among others, all the Tokens
19

20    described above qualify as an investment contract and thus a security.
21
             155. The teams behind every Token actively conceal that each and all
22

23    Tokens are a security. For example, the Woof Paper purports to inform investors

24    that by purchasing the Tokens, they “agree that [they] are not purchasing a security
25
      or investment.”
26

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        COMPLAINT FOR DAMAGES                                  Case No:
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 1           156. The Coinbase Exchanges provide users with hyperlinks to the
 2
      Tokens’ official website and the Woof Paper. Coinbase thus participates in the
 3
      attempt to simultaneously (1) persuade investors that by buying the Tokens, they
 4

 5    will profit from the efforts of others and (2) conceal the Tokens’ status as a
 6    security.
 7

 8           157. During the Material Period, Plaintiff, have had one or more losing

 9    transactions in many of those tokens on and with Coinbase. Plaintiff bought several
10
      of the Tokens on the Coinbase Exchanges that he subsequently sold on one or
11
      more occasions at a loss. Plaintiff have paid fees to Coinbase as part of his
12

13    transactions in many of those tokens.

14
          B.   COINBASE OFFERS, TRADES AND SELLS UNREGISTERED
15    SECURITIES.
16           158. Because the Tokens are unregistered securities and because Coinbase
17
      offers the Tokens for sale on the Coinbase Exchanges, Coinbase has sold
18

19
      unregistered securities to Plaintiff.

20
             159. The structure of Coinbase means that it is the counterparty in every
21
      transaction in a Token on the Coinbase Exchanges. Customers only exchange
22

23    funds and crypto assets with Coinbase itself, and never with other users. All
24    transactions in the Tokens made on Coinbase are reflected only in Coinbase’s
25
      internal records, and Coinbase itself receives all funds and provides all Tokens
26

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        COMPLAINT FOR DAMAGES                                  Case No:
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 1    purchased. Coinbase is thus in privity with each Coinbase customer in each of their
 2
      transactions and is the seller whenever a customer buys a token on Coinbase.
 3

 4           160. Moreover, Coinbase solicits the Tokens for sale in order to earn
 5
      trading fees. Coinbase promotes the sale of Tokens by providing users with
 6
      descriptions of each Token and its purported value proposition. Coinbase also
 7

 8    participated in direct promotions, including “airdrops” of free Tokens designed to

 9    increase trading volume. Coinbase also writes news updates on price movements
10
      of the Tokens, and links to stories about the Tokens published across the internet.
11
      These solicitations profit Coinbase by increasing the number of transactions on the
12

13    Coinbase Exchanges and thus the fees paid to Coinbase; these solicitations are thus

14    motivated at least in part by a desire to serve their own financial interests.
15

16        C.  THE COINBASE EXCHANGES ARE RULE 3b-16(a)
      SYSTEMS AND THEREFORE ARE UNREGISTERED “EXCHANGES”
17    UNDER THE EXCHANGE ACT
18           161. The Coinbase Exchanges satisfy the criteria of Exchange Act Rule
19
      3b-16(a) and are not exempted under Rule 3b-16(b). As described above, the
20
      Coinbase Platform and the Coinbase Pro Platform each bring together orders of
21

22    multiple buyers and sellers. The Coinbase Platform and the Coinbase Pro Platform

23    each receive, and store digital asset buy and sell orders for Tokens from their users.
24
      The Coinbase Platform and the Coinbase Pro Platform each provided the means for
25
      these orders to interact and execute through the combined use of the Coinbase and
26

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        COMPLAINT FOR DAMAGES                                   Case No:
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 1    Coinbase Pro websites, mobile apps, order books, and pre-programmed trading
 2
      rules protocols defined in the Coinbase and Coinbase Pro trading engine. These
 3
      established non-discretionary methods allowed Coinbase and Coinbase Pro users to
 4

 5    agree upon the terms of their trades in Tokens on Coinbase and Coinbase Pro
 6    during the Material Period.
 7

 8           162. Coinbase is thus an “organization ... which ... maintains [and]

 9    provides a marketplace or facilities for bringing together purchasers and sellers” of
10
      digital assets. See 15 U.S.C. § 78c. As discussed in further detail below, because
11
      many of the digital assets listed on the Coinbase Exchanges are securities, the
12

13    Coinbase Platform and the Coinbase Pro Platform each meet the statutory

14    definition of an exchange under the Exchange Act. Id.
15

16        D.  COINBASE OPERATES AS AN UNREGISTERED BROKER-
      DEALER ON THE COINBASE EXCHANGES
17

18
             163. Coinbase’s activities further meet the definition of both a “broker-
19

20
      dealer” under the Exchange Act. The Exchange Act defines “broker” in part as an

21    entity that is “engaged in the business of effecting transactions in securities for the
22
      account of others.” Id. § 78c(a)(4)(A). In addition, an entity is a broker if it assists
23
      issuers with structuring a securities offering, identifies potential purchasers, or
24

25    advertises a securities offering.

26

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        COMPLAINT FOR DAMAGES                                    Case No:
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 1           164. For example, during the Material Period, Coinbase operated as a
 2
      broker by effecting transactions in Tokens for users of the Coinbase Exchanges by
 3
      matching buy and sell orders using the Coinbase matching engine as described
 4

 5    above. Coinbase also operated as a broker-dealer by facilitating the sale of Tokens
 6    as part of ICOs. For example, on February 28, 2019 Coinbase announced that the
 7
      Token XRP was available for trading on the Coinbase Platform. As discussed,
 8
      above, the SEC has charged Ripple Labs Inc., the founder, developer, and issuer of
 9

10    XRP with operating one long continuous ICO from 2013 to the present, which
11
      includes the period of time during which Coinbase facilitated the sale of XRP by
12
      listing it for trading and facilitating transactions for XRP.
13

14           165. Coinbase’s activities also meet the Exchange Act’s definition of
15
      “dealer”, which includes entities that are “engaged in the business of buying and
16
      selling securities … for such person’s own account,” insofar as such transactions
17

18    are part of that person’s “regular business.”15 U.S.C. § 78c(a)(5)A). During the
19    Material Period, Coinbase operated as a dealer as defined by the Exchange Act by,
20
      inter alia, (1) holding itself out as willing to buy or sell securities on a continuous
21

22
      basis and as willing to provide liquidity to the market for Tokens; (2) maintaining

23    custody over Coinbase Exchange customers’ Tokens; (3) by providing customers
24
      services such as allowing purchase of Tokens on credit; (4) by having a regular
25
      turnover inventory of Tokens; (5) by purchasing Tokens for accounts in Coinbase’s
26

                                                51
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        COMPLAINT FOR DAMAGES                                   Case No:
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 1    name (often at a discount to the ICO price); and (6) selling the digital assets to
 2
      investors for profit immediately or at a later time after being held in inventory.
 3

 4    III.                         CLAIMS FOR RELIEF
 5    IV.                       FIRST CAUSE OF ACTION
 6                       Offer and Sale of Unregistered Securities
                        Sections 5 and 12(a)(1) of the Securities Act
 7
                 (By Plaintiff Against Coinbase Global and Coinbase, Inc.)
 8

 9
             166. Plaintiff realleges and incorporates the allegations above.
10

11           167. Plaintiffs brings this Cause of Action as to each Token that was first
12
      bona fide offered to the public within three years of the September 28, 2021 filing
13
      of the Complaint (each a “12(a)(1) Token”). The 12(a)(1) Tokens are: 1INCH,
14

15    AAVE, ACH, AGLD, ALGO, AMP, ARPA, AUCTION, AXS, BAL, BAND,

16    BOND, BTRST, CGLD, CLV, COMP, CRO, CRV, CTSI, DOT, FARM, FET,
17
      FORTH, GRT, GTC, ICP, KEEP, NU, OGN, ORN, OXT, PLA, QUICK, RARI,
18
      SHIB, SKL, SOL, SUSHI, TRB, TRIBE, UMA, UNI,YFI and GYEN.
19

20
             168. Section 5(a) of the Securities Act states: “Unless a registration
21
      statement is in effect as to a security, it shall be unlawful for any person, directly or
22

23    indirectly (1) to make use of any means or instruments of transportation or

24    communication in interstate commerce or of the mails to sell such security through
25
      the use or medium of any prospectus or otherwise; or (2) to carry or cause to be
26

                                                52
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        COMPLAINT FOR DAMAGES                                    Case No:
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 1    carried through the mails or in interstate commerce, by any means or instruments
 2
      of transportation, any such security for the purpose of sale or for delivery after
 3
      sale.” 15 U.S.C. § 77e(a).
 4

 5
             169. Section 5(c) of the Securities Act states: “It shall be unlawful for any
 6
      person, directly or indirectly, to make use of any means or instruments of
 7

 8    transportation or communication in interstate commerce or of the mails to offer to

 9    sell or offer to buy through the use or medium of any prospectus or otherwise any
10
      security, unless a registration statement has been filed as to such security, or while
11
      the registration statement is the subject of a refusal order or stop order or (prior to
12

13    the effective date of the registration statement) any public proceeding or

14    examination under section 77h of this title.” Id. § 77e(c).
15

16           170. All Tokens are, and at all relevant times have been, securities within

17    the meaning of Section 2(a)(1) of the Securities Act. Id. § 77b(a)(1). No
18
      registration statements have been filed with the SEC or have been in effect with
19
      respect to any of the Tokens listed on the Coinbase Exchanges.
20

21
             171. Throughout the Material Period, Coinbase Global and Coinbase, Inc.
22
      promoted, solicited, offered, and sold 12(a)(1) Tokens to Plaintiff. Because of the
23

24    structure of the Coinbase Exchanges, Coinbase Global and Coinbase, Inc. are in

25    privity in every sale of a 12(a)(1) Token, including those by Plaintiff. Customers
26

                                                53
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        COMPLAINT FOR DAMAGES                                   Case No:
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 1    on Coinbase transact solely with Coinbase itself, and Coinbase is thus a seller of
 2
      the Tokens.
 3

 4           172. In addition, by offering 12(a)(1) Tokens to Plaintiff, Coinbase Global
 5
      and Coinbase, Inc. solicited these purchases, and in doing so were motivated at
 6
      least in part by a desire to serve their own financial interests or the financial
 7

 8    interests of owners of 12(a)(1) Tokens for sale on the Coinbase Exchanges.

 9    Coinbase Global and Coinbase, Inc. received a direct financial benefit, in the form
10
      of transaction fees, from each purchase of 12(a)(1) Tokens on the Coinbase
11
      Exchanges. Coinbase Global and Coinbase, Inc. further benefit from purchases of
12

13    12(a)(1) Tokens on the Coinbase Exchanges because such purchases support a

14    liquid trading market for 12(a)(1) Tokens, which in turn makes the Coinbase
15
      Exchanges more attractive to investors and issuers.
16

17           173. Coinbase Global and Coinbase, Inc. thus directly or indirectly made
18
      use of means or instruments of transportation or communication in interstate
19
      commerce or of the mails, to offer to sell or to sell unregistered securities, or to
20

21    carry or cause such unregistered securities to be carried through the mails or in

22    interstate commerce for the purpose of sale or for delivery after sale.
23

24           174. Section 12(a)(1) of the Securities Act provides in relevant part: “Any

25    person who offers or sells a security in violation of section 77e of this title … shall
26
      be liable … to the person purchasing such security from him, who may sue either
                                                54
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                    Case No:
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 1    at law or in equity in any court of competent jurisdiction, to recover the
 2
      consideration paid for such security with interest thereon, less the amount of any
 3
      income received thereon, upon the tender of such security, or for damages if he no
 4

 5    longer owns the security.” Id. § 77l(a)(1).
 6
             175. Accordingly, Defendants Coinbase Global and Coinbase, Inc. have
 7

 8    violated Sections 5(a), 5(c), and 12(a)(1) of the Securities Act, id. §§ 77e(a),

 9    77e(c), 77l(a)(1).
10

11
             176. Plaintiff purchased 12(a)(1) Tokens on the Coinbase Exchanges and

12    subsequently sold those 12(a)(1) Tokens at a loss seek damages, inclusive of
13
      transaction fees, as to each transaction in which any 12(a)(1) Tokens purchased in
14
      the Material Period was subsequently sold at a loss. See id. § 77l(a)(1).
15

16     V.                     SECOND CAUSE OF ACTION
17
                 Control Person Liability for Violations of the Securities Act
18                             Section 15 of the Securities Act
                (By Plaintiff Against Coinbase Global and Brian Armstrong)
19

20           177. Plaintiff realleges and incorporates the allegations above.
21
             178. This Count is asserted against Coinbase Global and Brian Armstrong
22

23    for violations of Section 15 of the Securities Act, 15 U.S.C. § 77o.

24
             179. Section 15 of the Securities Act provides: “Every person who, by or
25

26
      through stock ownership, agency, or otherwise, or who, pursuant to or in

                                                55
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                  Case No:
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 1    connection with an agreement or understanding with one or more other persons by
 2
      or through stock ownership, agency, or otherwise, controls any person liable under
 3
      sections 77k or 77l of this title, shall also be liable jointly and severally with and to
 4

 5    the same extent as such controlled person to any person to whom such controlled
 6    person is liable, unless the controlling person had no knowledge of or reasonable
 7
      ground to believe in the existence of the facts by reason of which the liability of
 8
      the controlled person is alleged to exist.” Id. § 77o(a).
 9

10
             180. At the time of the wrongs alleged herein, Coinbase Global controlled
11
      Coinbase, Inc. Coinbase Global, by virtue of its stock ownership, agency,
12

13    agreements or understandings, specific acts, and otherwise, had the power and

14    authority to direct the management and activities of Coinbase, Inc. and its
15
      employees, and to cause Coinbase, Inc. to engage in the wrongful conduct
16
      complained of herein. Coinbase Global, at the time of the wrongs alleged herein,
17

18    had the power to direct or cause the direction of the management and policies of
19
      Coinbase, Inc.
20

21           181. Coinbase Global purposefully exercised its power and influence to

22    cause Coinbase, Inc. to violate the Securities Act as described herein, including by
23
      promoting, soliciting, offering, and selling unregistered securities to Plaintiff in
24
      violation of sections 5(a), 5(c), and 12(a)(1) of the Securities Act, id. §§ 77e(a),
25

26

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        COMPLAINT FOR DAMAGES                                     Case No:
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 1    77e(c), 77l(a)(1). Coinbase, Inc. is liable under section 12(a)(1) of the Securities
 2
      Act, id. § 77l(a)(1), for its violations of the Securities Act.
 3

 4           182. At the time of the wrongs alleged herein, Coinbase Global had
 5
      sufficient influence to cause Coinbase, Inc. to refrain from promoting, soliciting,
 6
      offering, and selling unregistered securities in violation of the Securities Act.
 7

 8    Coinbase Global purposefully decided not to do so.

 9
             183. Coinbase Global knowingly and culpably participated in, and/or aided
10

11
      and abetted, Coinbase, Inc.’s violations of the Securities Act alleged herein.

12    Coinbase Global had knowledge of or reasonable ground to believe in the
13
      existence of the facts alleged herein, which form the basis for Coinbase, Inc.’s
14
      liability under section 12(a)(1) of the Securities Act.
15

16           184. Accordingly, Coinbase Global is jointly and severally liable for the
17
      violations of the Securities Act by Coinbase, Inc. complained of herein and is
18

19
      liable to Plaintiff as to each transaction in which any 12(a)(1) Token purchased in

20    the Material Period was subsequently sold at a loss. See id. § 77l(a)(1).
21
             185. With respect to Coinbase Global, the instant claim is pleaded in the
22

23    alternative to the extent that Coinbase Global is found not to be directly liable
24    under the First Cause of Action.
25

26

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        COMPLAINT FOR DAMAGES                                    Case No:
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 1           186. As CEO and founder of both Coinbase Global and Coinbase Inc.,
 2
      Brian Armstrong had the power and authority to direct the management and
 3
      activities of Coinbase and its employees, and to cause Coinbase to engage in the
 4

 5    wrongful conduct complained of herein. Armstrong, at the time of the wrongs
 6    alleged herein, had the power to direct or cause the direction of the management
 7
      and policies of Coinbase.
 8

 9           187. Armstrong purposefully exercised its power and influence to cause
10
      Coinbase to violate the Securities Act as described herein, including by directing
11
      Coinbase not to register as an exchange or broker-dealer prior to offering and
12

13    selling securities to Plaintiff in violation of sections 5(a), 5(c), and 12(a)(1) of the

14    Securities Act, id. §§ 77e(a), 77e(c), 77l(a)(1). Coinbase is liable under section
15
      12(a)(1) of the Securities Act, id. § 77l(a)(1), for its violations of the Securities
16
      Act.
17

18
             188. At the time of the wrongs alleged herein, Armstrong had sufficient
19
      influence to cause Coinbase to refrain from promoting, soliciting, offering, and
20

21    selling unregistered securities in violation of the Securities Act. Armstrong

22    purposefully decided not to do so.
23

24           189. Armstrong knowingly and culpably participated in, and/or aided and

25    abetted, Coinbase’s violations of the Securities Act alleged herein. Armstrong had
26
      knowledge of or reasonable ground to believe in the existence of the facts alleged
                                                58
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                    Case No:
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 1    herein, which form the basis for Coinbase’s liability under Section 12(a)(1) of the
 2
      Securities Act.
 3

 4           190. Accordingly, Armstrong is jointly and severally liable for the
 5
      violations of the Securities Act by Coinbase complained of herein and is liable to
 6
      Plaintiff for damages, inclusive of transaction fees, as to each transaction in which
 7

 8    any 12(a)(1) Token purchased in the Material Period was subsequently sold at a

 9    loss. See id. § 77l(a)(1).
10

11
       VI.                         THIRD CAUSE OF ACTION

12        Illegal Contracts to Pay Transaction Fees to an Unregistered Exchange
                          Sections 5 and 29(b) of the Exchange Act
13
                  (By Plaintiff Against Coinbase Global and Coinbase, Inc.)
14

15
             191. Plaintiff reallege and incorporates the allegations above.
16

17
             192. In relevant part, section 5 of the Exchange Act makes it unlawful “for
18
      any …exchange, directly or indirectly, to make use of … any means or
19

20
      instrumentality of interstate commerce for the purpose of using any facility of an

21    exchange within or subject to the jurisdiction of the United States to effect any
22
      transaction in a security … unless such exchange (1) is registered as national
23
      securities exchange under section 78f of this title, or (2) is exempted from such
24

25    registration.” 15 U.S.C. § 78e. An “exchange” is any entity that “constitute[s],

26    maintain[s], or provide[s] ‘a marketplace or facilities for bringing together
                                                59
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                  Case No:
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 1    purchasers and sellers of securities.’ ”17 C.F.R. § 240.3b-16 (quoting 15 U.S.C. §
 2
      78c).
 3

 4            193. Throughout the Material Period, Coinbase has made use of means and
 5
      instrumentalities of interstate commerce for the purpose of using facilities of an
 6
      exchange within and subject to the jurisdiction of the United States to effect
 7

 8    transactions in Tokens. Coinbase has operated the Coinbase Exchanges throughout

 9    the Material Period through the utilization of the Internet within, and multiple
10
      servers throughout, the United States.
11

12            194. The Coinbase Exchanges are exchanges because they provide a
13
      marketplace and facilities for bringing together purchasers and sellers of Tokens.
14
      Id. All Tokens are, and at all relevant times have been, securities within the
15

16    meaning of Section 2(a)(1) of the Securities Act. 15 U.S.C. § 77b(a)(1).

17
              195. Coinbase and the Coinbase Exchanges have never been registered as
18

19
      national securities exchange under 15 U.S.C. § 78f, nor are they exempt from such

20    registration. See id. §78e.
21
              196. Coinbase has thus operated unregistered exchanges in violation of
22

23    section 5(e) of the Exchange Act, 15 U.S.C. § 78e, throughout the Material Period.
24

25

26

                                                60
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                  Case No:
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 1           197. Each transaction in a Token on the Coinbase Exchanges constitutes a
 2
      contract between Coinbase and Plaintiff. Pursuant to these contracts, Plaintiff paid
 3
      Coinbase transaction fees to fulfill purchase orders for Tokens.
 4

 5
             198. The foregoing contracts were made in violation of section 5 of the
 6
      Exchange Act. The performance of these contracts necessarily involves the
 7

 8    violation of section 5 because, pursuant to each such contract, Coinbase was

 9    required to continue its practice of operating unregistered exchanges that bring
10
      together purchasers and sellers of Tokens.
11

12           199. Section 29(b) of the Exchange Act provides in relevant part that
13
      “[e]very contract made in violation of any provision of this chapter … and every
14
      contract (including any contract for listing a security on an exchange) … the
15

16    performance of which involves the violations of, or the continuance of any

17    relationship or practice in violation of, any provision of this chapter …shall be
18
      void … as regards the rights of any person who, in violation of any such provision,
19
      … shall have made or engaged in the performance of any such contract.” 15 U.S.C.
20

21    § 78cc(b).

22
             200. Section 29(b) affords Plaintiff the right, which he hereby pursues, to
23

24    void and rescind the contracts pursuant to which they paid Coinbase fees for

25    fulfillment of purchase orders for Tokens and to recover, as a rescissory remedy,
26
      the fees they have paid under those contracts.
                                                61
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                  Case No:
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 1    VII.                   FOURTH CAUSE OF ACTION
 2
      Illegal Contracts to Pay Transaction Fees to an Unregistered Broker or Dealer
 3                   Sections 15(a)(1) and 29(b) of the Exchange Act
                (By Plaintiff Against Coinbase Global and Coinbase, Inc.)
 4

 5
             201. Plaintiff realleges and incorporates the allegations above.
 6

 7           202. Section 15(a)(1) of the Exchange Act makes it unlawful “for any
 8
      broker or dealer… to make use of … any means or instrumentality of interstate
 9
      commerce to effect any transactions in, or to induce or attempt to induce the
10

11    purchase or sale of, any security … unless such broker or dealer is registered in
12
      accordance with subsection (b) of this section.” 15 U.S.C. § 78o(a)(1).
13

14           203. A “broker” includes an entity “engaged in the business of effecting
15    transactions in securities for the account of others.” Id. § 78c(a)(4)(A).
16

17           204. Coinbase has operated as a broker during the Material Period by

18    facilitating the sale of Tokens in exchange for compensation primarily in the form
19
      of transaction fees, including by marketing Tokens, accepting investors’ orders,
20
      providing answers to investor questions about transaction details, accepting
21

22    payment for orders, and working with issuers to transfer Tokens to investors after
23    payment. All Tokens are, and at all relevant times have been, securities within the
24
      meaning of Section 2(a)(1) of the Securities Act. Id. § 77b(a)(1).
25

26

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        COMPLAINT FOR DAMAGES                                   Case No:
     Case 2:22-cv-08274-MWF-KS Document 1 Filed 11/12/22 Page 70 of 110 Page ID #:70


 1           205. A “dealer” includes an entity “engaged in the business of buying and
 2
      selling securities … for such person’s own account,” insofar as such transactions
 3
      are part of that person’s “regular business.” Id. § 78c(a)(5).
 4

 5
             206. Coinbase has operated as a dealer during the Material Period by
 6
      holding itself out as willing to buy or sell securities on a continuous basis and as
 7

 8    willing to provide liquidity to the market for digital assets, by having regular

 9    customers, by maintaining custody over customers’ Tokens, by providing
10
      customers with access to services allowing purchase of Tokens on credit, by
11
      having a regular turnover inventory of securities, by purchasing Tokens for
12

13    accounts in Coinbase’s own name (often at a discount to the ICO price), and by

14    selling Tokens from its inventory to investors for profit.
15

16           207. Throughout the Material Period, Coinbase has made use of means and

17    instrumentalities of interstate commerce to effect transactions in, and to induce or
18
      attempt to induce the purchase or sale of, Tokens.
19

20           208. Coinbase has never registered as a broker or dealer in accordance
21
      with section 15(b) of the Exchange Act.
22

23           209. Coinbase has thus operated as an unregistered broker-dealer in
24    violation of section 15(a)(1) of the Exchange Act, 15 U.S.C. § 78o(a)(1).
25

26

                                                63
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        COMPLAINT FOR DAMAGES                                   Case No:
     Case 2:22-cv-08274-MWF-KS Document 1 Filed 11/12/22 Page 71 of 110 Page ID #:71


 1           210. In the course of operating as an unregistered broker-dealer, Coinbase
 2
      has entered into contracts with Plaintiff pursuant to which Plaintiff paid Coinbase
 3
      transaction fees to fulfill purchase orders for Tokens.
 4

 5
             211. The foregoing contracts were made in violation of section 15(a)(1) of
 6
      the Exchange Act. The performance of these contracts necessarily involves the
 7

 8    violation of section 15(a)(1) because, pursuant to each such contract, Coinbase was

 9    required to continue its practice of operating as a broker, dealer, or both, despite
10
      not being registered as a broker or dealer.
11

12           212. Section 29(b) of the Exchange Act provides in relevant part that
13
      “[e]very contract made in violation of any provision of this chapter … and every
14
      contract (including any contract for listing a security on an exchange) … the
15

16    performance of which involves the violations of, or the continuance of any

17    relationship or practice in violation of, any provision of this chapter … shall be
18
      void … as regards the rights of any person who, in violation of any such provision,
19
      … shall have made or engaged in the performance of any such contract.” 15 U.S.C.
20

21    § 78cc(b).

22
             213. Section 29(b) affords Plaintiff the right, which hereby he pursues, to
23

24    void and rescind the contracts pursuant to which he paid Coinbase fees for

25    fulfillment of purchase orders for Tokens and to recover, as a rescissory remedy,
26
      the fees they have paid under those contracts.
                                                64
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        COMPLAINT FOR DAMAGES                                   Case No:
     Case 2:22-cv-08274-MWF-KS Document 1 Filed 11/12/22 Page 72 of 110 Page ID #:72


 1    VIII.                       FIFTH CAUSE OF ACTION
 2
          Illegal Contracts to Purchase Securities from an Unregistered Exchange
 3                        Sections 5 and 29(b) of the Exchange Act
                  (By Plaintiff Against Coinbase Global and Coinbase, Inc.)
 4

 5            214. Plaintiff realleges and incorporates the allegations above.
 6
              215. In relevant part, section 5 of the Exchange Act makes it unlawful “for
 7

 8    any … exchange, directly or indirectly, to make use of … any means or

 9    instrumentality of interstate commerce for the purpose of using any facility of an
10
      exchange within or subject to the jurisdiction of the United States to effect any
11
      transaction in a security … unless such exchange (1) is registered as national
12

13    securities exchange under section 78f of this title, or (2) is exempted from such

14    registration.” 15 U.S.C. § 78e. An “exchange” is any entity that “constitute[s],
15
      maintain[s], or provide[s] ‘a marketplace or facilities for bringing together
16
      purchasers and sellers of securities.’ ”17 C.F.R. § 240.3b-16 (quoting 15 U.S.C. §
17

18    78c).
19
              216. Throughout the Material Period, Coinbase has made use of means and
20

21    instrumentalities of interstate commerce for the purpose of using facilities of an

22    exchange within and subject to the jurisdiction of the United States to effect
23
      transactions in Tokens. Coinbase has operated the Coinbase Exchanges throughout
24
      the Material Period through the utilization of the Internet within, and multiple
25

26    servers throughout, the United States.
                                                65
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                  Case No:
     Case 2:22-cv-08274-MWF-KS Document 1 Filed 11/12/22 Page 73 of 110 Page ID #:73


 1           217. The Coinbase Exchanges are exchanges because they provide a
 2
      marketplace and facilities for bringing together purchasers and sellers of Tokens.
 3
      Id. All Tokens are, and at all relevant times have been, securities within the
 4

 5    meaning of Section 2(a)(1) of the Securities Act. 15 U.S.C. § 77b(a)(1).
 6
             218. Coinbase and the Coinbase Exchanges have never been registered as a
 7

 8    national securities exchange under 15 U.S.C. § 78f, nor are they exempt from such

 9    registration. See id. § 78e.
10

11
             219. Coinbase has thus operated unregistered exchanges in violation of

12    section 5(e) of the Exchange Act, 15 U.S.C. § 78e, throughout the Material Period.
13
             220. Each transaction in a Token on the Coinbase Exchanges constitutes a
14

15    contract between Coinbase and Plaintiff. Coinbase induced Plaintiff to enter these
16    contracts for the purchase of Tokens during the Material Period. Coinbase did so
17
      by promoting, soliciting, offering, and selling Tokens to Plaintiff. In seeking to
18

19
      induce Plaintiffs to purchase Tokens, Coinbase Global and Coinbase, Inc. were

20    motivated at least in part by a desire to serve their own financial interests or the
21
      financial interests of owners of Tokens for sale on the Coinbase Exchanges.
22
      Coinbase Global and Coinbase, Inc. received a direct financial benefit, in the form
23

24    of transaction fees, from each purchase of Tokens on the Coinbase Exchanges.

25    Coinbase Global and Coinbase, Inc. further benefit from purchases of Tokens on
26
      the Coinbase Exchanges because such purchases support a liquid trading market
                                                66
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                   Case No:
     Case 2:22-cv-08274-MWF-KS Document 1 Filed 11/12/22 Page 74 of 110 Page ID #:74


 1    for Tokens, which in turn makes the Coinbase Exchanges more attractive to
 2
      investors and issuers.
 3

 4           221. The contracts that Coinbase induced Plaintiff to enter for the purchase
 5
      of Tokens were made in violation of section 5 of the Exchange Act, 15 U.S.C. §
 6
      78e. The performance of these contracts necessarily involves the violation of
 7

 8    section 5 because each such contract could not be performed unless Coinbase

 9    continued its practice of operating an unregistered exchange that brings together
10
      purchasers and sellers of Tokens.
11

12           222. Section 29(b) of the Exchange Act provides in relevant part that
13
      “[e]very contract made in violation of any provision of this chapter … and every
14
      contract (including any contract for listing a security on an exchange) … the
15

16    performance of which involves the violations of, or the continuance of any

17    relationship or practice in violation of, any provision of this chapter … shall be
18
      void … as regards the rights of any person who, in violation of any such provision,
19
      … shall have made or engaged in the performance of any such contract.” Id. §
20

21    78cc(b).

22
             223. Section 29(b) affords Plaintiff the right, which hereby he pursues, to
23

24    void and rescind each contract pursuant to which they purchased, on any Coinbase

25    Exchange, any Token that they later sold at a loss. Plaintiff hereby offer to tender
26
      to Coinbase, Inc., the Tokens or substantial equivalent realized upon sale of all
                                                67
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                  Case No:
     Case 2:22-cv-08274-MWF-KS Document 1 Filed 11/12/22 Page 75 of 110 Page ID #:75


 1    Tokens he purchased on any Coinbase Exchange and later sold at a loss. In
 2
      exchange for such tender, Plaintiffs and the Class are entitled to recover the
 3
      amount of consideration he paid to purchase the tendered Tokens.
 4

 5
      IX.                      SIXTH CAUSE OF ACTION
 6
              Illegal Contracts to Purchase Securities from an Unregistered
 7           Broker or Dealer Sections 15(a)(1) and 29(b) of the Exchange Act
 8               (By Plaintiff Against Coinbase Global and Coinbase, Inc.)

 9

10             224. Plaintiff realleges and incorporates the allegations above.
11

12
             225. Section 15(a)(1) of the Exchange Act makes it unlawful “for any

13    broker or dealer … to make use of … any means or instrumentality of interstate
14
      commerce to effect any transactions in, or to induce or attempt to induce the
15
      purchase or sale of, any security … unless such broker or dealer is registered in
16

17    accordance with subsection (b) of this section.” 15 U.S.C. § 78o(a)(1).

18
             226. A “broker” includes an entity “engaged in the business of effecting
19

20
      transactions in securities for the account of others.” Id. § 78c(a)(4)(A).

21
             227. Coinbase has operated as a broker during the Material Period by
22
      facilitating the sale of Tokens in exchange for compensation primarily in the form
23

24    of transaction fees, including by marketing Tokens, accepting investors’ orders,
25    providing answers to investor questions about transaction details, accepting
26
      payment for orders, and working with issuers to transfer Tokens to investors after
                                                68
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                   Case No:
     Case 2:22-cv-08274-MWF-KS Document 1 Filed 11/12/22 Page 76 of 110 Page ID #:76


 1    payment. All Tokens are, and at all relevant times have been, securities within the
 2
      meaning of Section 2(a)(1) of the Securities Act. Id. § 77b(a)(1).
 3

 4           228. A “dealer” includes an entity “engaged in the business of buying and
 5
      selling securities … for such person’s own account,” insofar as such transactions
 6
      are part of that person’s “regular business.” Id. § 78c(a)(5).
 7

 8           229. Coinbase has operated as a dealer during the Material Period by
 9
      holding itself out as willing to buy or sell securities on a continuous basis and as
10

11
      willing to provide liquidity to the market for digital assets, by having regular

12    customers, by maintaining custody over customers’ Tokens, by providing
13
      customers with access to services allowing purchase of Tokens on credit, by
14
      having a regular turnover inventory of securities, by purchasing Tokens for
15

16    accounts in Coinbase’s own name (often at a discount to the ICO price), and by

17    selling Tokens from its inventory to investors for profit.
18

19
             230. Throughout the Material Period, Coinbase has made use of means and

20    instrumentalities of interstate commerce to effect transactions in, and to induce or
21
      attempt to induce the purchase or sale of, Tokens.
22

23           231. Coinbase has never registered as a broker or dealer in accordance
24    with section 15(b) of the Exchange Act.
25

26

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       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                   Case No:
     Case 2:22-cv-08274-MWF-KS Document 1 Filed 11/12/22 Page 77 of 110 Page ID #:77


 1           232. Coinbase has thus operated as an unregistered broker-dealer in
 2
      violation of section 15(a)(1) of the Exchange Act, 15 U.S.C. § 78o(a)(1).
 3

 4           233. Each transaction in a Token on the Coinbase Exchanges constitutes a
 5
      contract between Coinbase and a Plaintiff. Coinbase induced Plaintiff to enter
 6
      contracts for the purchase Tokens during the Material Period. Coinbase did so by
 7

 8    promoting, soliciting, offering, and selling Tokens to Plaintiff. In seeking to induce

 9    Plaintiff to purchase Tokens, Coinbase Global and Coinbase, Inc. were motivated
10
      at least in part by a desire to serve their own financial interests or the financial
11
      interests of owners of Tokens for sale on the Coinbase Exchanges. Coinbase
12

13    Global and Coinbase, Inc. received a direct financial benefit, in the form of

14    transaction fees, from each purchase of Tokens on the Coinbase Exchanges.
15
      Coinbase Global and Coinbase, Inc. further benefit from purchases of Tokens on
16
      the Coinbase Exchanges because such purchases support a liquid trading market
17

18    for Tokens, which in turn makes the Coinbase Exchanges more attractive to
19
      investors and issuers.
20

21           234. The contracts that Coinbase induced Plaintiff to enter for the purchase

22    of Tokens were made in violation of section 15(a)(1) of the Exchange Act, 15
23
      U.S.C. §78o(a)(1). The performance of these contracts necessarily involves the
24
      violation of section 15(a)(1) because each such contract could not be performed
25

26    unless Coinbase continued its practice of operating as a broker, dealer, or both,
                                                70
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                    Case No:
     Case 2:22-cv-08274-MWF-KS Document 1 Filed 11/12/22 Page 78 of 110 Page ID #:78


 1    despite not being registered as a broker or dealer. Furthermore, Coinbase violated
 2
      section 15(a)(1) by inducing Plaintiff to enter these contracts—and thus engaging
 3
      in the business of effecting transactions in securities for the account of others, the
 4

 5    business of buying and selling securities for Coinbase’s own account, or both—
 6    without being registered as a broker or dealer.
 7

 8            235. Section 29(b) of the Exchange Act provides in relevant part that

 9    “[e]very contract made in violation of any provision of this chapter … and every
10
      contract (including any contract for listing a security on an exchange) … the
11
      performance of which involves the violations of, or the continuance of any
12

13    relationship or practice in violation of, any provision of this chapter … shall be

14    void … as regards the rights of any person who, in violation of any such provision,
15
      … shall have made or engaged in the performance of such contract.” 15 U.S.C. §
16
      78cc.
17

18
              236. Section 29(b) affords Plaintiff the right, which he hereby pursues, to
19
      void and rescind each contract pursuant to which they purchased, on any Coinbase
20

21    Exchange, any Token that they later sold at a loss. Plaintiff hereby offer to tender

22    to Coinbase, Inc, the Tokens or substantial equivalent realized upon sale of all
23
      Tokens they purchased on any Coinbase Exchange and later sold at a loss. In
24
      exchange for such tender, Plaintiff is entitled to recover the amount of
25

26    consideration he paid to purchase the tendered Tokens.
                                                71
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        COMPLAINT FOR DAMAGES                                   Case No:
     Case 2:22-cv-08274-MWF-KS Document 1 Filed 11/12/22 Page 79 of 110 Page ID #:79


 1    X.                        SEVENTH CAUSE OF ACTION
 2
                 Control Person Liability for Violations of the Exchange Act
 3                             Section 20 of the Exchange Act
                (By Plaintiff Against Coinbase Global and Brian Armstrong)
 4

 5           237. Plaintiff realleges and incorporates the allegations above.
 6
             238. This Count is asserted against Coinbase Global and Brian Armstrong
 7

 8    for violations of Section 20 of the Exchange Act, 15 U.S.C. § 78t(a).

 9
             239. Section 20(a) of the Exchange Act provides: “Every person who,
10

11
      directly or indirectly, controls any person liable under any provision of [the

12    Exchange Act] or of any rule or regulation thereunder shall also be liable jointly
13
      and severally with and to the same extent as such controlled person to any person
14
      to whom such controlled person is liable … unless the controlling person acted in
15

16    good faith and did not directly or indirectly induce the act or acts constituting the

17    violation or cause of action.” 15 U.S.C. § 78t(a).
18

19
             240. At the time of the wrongs alleged herein, Coinbase Global controlled

20    Coinbase, Inc. Coinbase Global, by virtue of its stock ownership, agency,
21
      agreements or understandings, specific acts, and otherwise, had the power and
22
      authority to direct the management and activities of Coinbase, Inc. and its
23

24    employees, and to cause Coinbase, Inc. to engage in the wrongful conduct

25    complained of herein. Coinbase Global, at the time of the wrongs alleged herein,
26

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       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                   Case No:
     Case 2:22-cv-08274-MWF-KS Document 1 Filed 11/12/22 Page 80 of 110 Page ID #:80


 1    had the power to direct or cause the direction of the management and policies of
 2
      Coinbase, Inc.
 3

 4           241. Coinbase Global purposefully exercised its power and influence to
 5
      cause Coinbase, Inc. to violate the Exchange Act as described herein, including by
 6
      (1) operating unregistered exchanges and, in the course of operating such
 7

 8    exchanges, entering unlawful contracts to sell Tokens and to receive transaction

 9    fees for sales of Tokens, in violation of section 5(e) of the Exchange Act, 15
10
      U.S.C. § 78e; and (2) operating as an unregistered broker-dealer, and, in the course
11
      of so operating, entering unlawful contracts to sell Tokens and to receive
12

13    transaction fees for sales of Tokens, in violation of sections 15(a)(1) of the

14    Exchange Act, 15 U.S.C. § 78o(a)(1).
15

16           242. At the time of the wrongs alleged herein, Coinbase Global had

17    sufficient influence to cause Coinbase, Inc. either to register as an exchange and
18
      broker-dealer or to refrain from acts that are prohibited by the Exchange Act for
19
      persons not registered as an exchange and broker dealer. Coinbase Global
20

21    purposefully decided not to do so.

22
             243. Coinbase Global knowingly and culpably participated in, and/or aided
23

24    and abetted, Coinbase, Inc.’s violations of the Exchange Act alleged herein.

25

26

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        COMPLAINT FOR DAMAGES                                  Case No:
     Case 2:22-cv-08274-MWF-KS Document 1 Filed 11/12/22 Page 81 of 110 Page ID #:81


 1            244. Accordingly, Coinbase Global is jointly and severally liable for the
 2
      violations of the Exchange Act by Coinbase, Inc. complained of herein and is
 3
      liable to Plaintiff for rescission and/or damages as to all transactions in which
 4

 5    Plaintiff purchased, on any Coinbase Exchange, any Token that they later sold at a
 6    loss.
 7

 8            245. With respect to Coinbase Global, the instant claim is pleaded in the

 9    alternative to the extent that Coinbase Global is found not to be directly liable
10
      under any of the Third through Sixth Causes of Action.
11

12            246. At the time of the wrongs alleged herein, because Armstrong is the
13
      founder and CEO of both Coinbase Global and Coinbase, Inc., Armstrong had the
14
      power and authority to direct the management and activities of Coinbase and its
15

16    employees, and to cause Coinbase to engage in the wrongful conduct complained

17    of herein. Armstrong, at the time of the wrongs alleged herein, had the power to
18
      direct or cause the direction of the management and policies of Coinbase.
19

20            247. Armstrong purposefully exercised his power and influence to cause
21
      Coinbase to violate the Exchange Act as described herein, including by (1)
22
      operating unregistered exchanges and, in the course of operating such exchanges,
23

24    entering unlawful contracts to sell Tokens and to receive transaction fees for sales

25    of Tokens, in violation of section 5(e) of the Exchange Act, 15 U.S.C. § 78e; and
26
      (2) operating as an unregistered broker-dealer, and, in the course of so operating,
                                                74
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                  Case No:
     Case 2:22-cv-08274-MWF-KS Document 1 Filed 11/12/22 Page 82 of 110 Page ID #:82


 1    entering unlawful contracts to sell Tokens and to receive transaction fees for sales
 2
      of Tokens, in violation of Section 15(a)(1) of the Exchange Act, 15 U.S.C. §
 3
      78o(a)(1).
 4

 5
             248. At the time of the wrongs alleged herein, Armstrong had sufficient
 6
      influence to cause Coinbase either to register as an exchange and broker-dealer or
 7

 8    to refrain from acts that are prohibited by the Exchange Act for persons not

 9    registered as an exchange and broker-dealer. Armstrong purposefully decided not
10
      to do so.
11

12           249. Armstrong knowingly and culpably participated in, and/or aided and
13
      abetted, Coinbase’s violations of the Exchange Act alleged herein.
14

15           250. Accordingly, Armstrong is jointly and severally liable for the
16    violations of the Exchange Act by Coinbase complained of herein and is liable to
17
      Plaintiff for rescission and/or damages as to all transactions in which Plaintiff
18

19
      purchased, on any Coinbase Exchange, any Token that they later sold at a loss.

20
      XI.                       EIGHTH CAUSE OF ACTION
21
                              Offer or Sale of Unqualified Securities
22
                          Cal. Corp. Code §§ 25110, 25130, and 25503
23                (By Plaintiff Against All Coinbase Global and Coinbase, Inc.)
24

25
             251. Plaintiff realleges and incorporates the allegations above.
26

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        COMPLAINT FOR DAMAGES                                  Case No:
     Case 2:22-cv-08274-MWF-KS Document 1 Filed 11/12/22 Page 83 of 110 Page ID #:83


 1           252. This Cause of Action is brought on by Plaintiff, because he bought or
 2
      sold Tokens on the Coinbase Exchanges in California.
 3

 4           253. The California Corporate Securities Law of 1968 (“California
 5
      Securities Act”) forbids the offer or sale of unqualified securities. Cal Corp. Code
 6
      §§ 25110, 25130. Any person who offers or sells a security in violation of section
 7

 8    25110 or 25130 is “liable to any person acquiring from them the security sold in

 9    violation of that section, who may sue to recover the consideration they paid for
10
      that security with interest thereon at the legal rate, and reasonable attorney’s fees,
11
      less the amount of any income received therefrom, upon the tender of that security,
12

13    or for damages, if they no longer own the security, or if the consideration given for

14    the security is not capable of being returned. Damages, if the plaintiff no longer
15
      owns the security, shall be equal to the difference between (a) the purchase price
16
      plus interest at the legal rate from the date of purchase, plus reasonable attorney's
17

18    fees, and (b) the value of the security at the time it was disposed of by the plaintiff
19
      plus the amount of any income received therefrom by the plaintiff.” Id. § 25503.
20

21           254. A security includes, inter alia, an “investment contract.” Id. § 25019.

22
             255. The Tokens are, and at all relevant times have been, securities within
23

24    the meaning of the California Securities Act. Id. § 25019. The Tokens were neither

25    qualified under the California Securities Act nor exempt from qualification. Id. §§
26
      25110, 25130.
                                                76
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        COMPLAINT FOR DAMAGES                                   Case No:
     Case 2:22-cv-08274-MWF-KS Document 1 Filed 11/12/22 Page 84 of 110 Page ID #:84


 1           256. During the Material Period, Coinbase Global and Coinbase, Inc.
 2
      offered or sold the Tokens to Plaintiff in California. Because of the structure of the
 3
      Coinbase Exchanges, Coinbase Global and Coinbase, Inc. are in privity in every
 4

 5    sale of a Token, including those by Plaintiff. Customers on Coinbase transact
 6    solely with Coinbase itself, and Coinbase is thus a seller of the Tokens.
 7

 8           257. Moreover, in offering Tokens to Plaintiff in California, Coinbase

 9    Global and Coinbase, Inc. solicited these purchases, and in doing so were
10
      motivated at least in part by a desire to serve their own financial interests or the
11
      financial interests of owners of Tokens for sale on the Coinbase Exchanges.
12

13    Coinbase Global and Coinbase, Inc. received a direct financial benefit, in the form

14    of transaction fees, from each purchase of Tokens on the Coinbase Exchanges.
15
      Coinbase Global and Coinbase, Inc. further benefit from purchases of Tokens on
16
      the Coinbase Exchanges because such purchases support a liquid trading market
17

18    for Tokens, which in turn makes the Coinbase Exchanges more attractive to
19
      investors and issuers.
20

21           258. Throughout the Material Period, Coinbase Global and Coinbase, Inc.

22    directed the foregoing actions to California, including without limitation through
23
      solicitations directed by Coinbase Global and Coinbase, Inc. to users in California
24
      and received by users in California.
25

26

                                                77
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                   Case No:
     Case 2:22-cv-08274-MWF-KS Document 1 Filed 11/12/22 Page 85 of 110 Page ID #:85


 1            259. Accordingly, Coinbase Global and Coinbase, Inc. have violated the
 2
      California Securities Act through their sale of unqualified securities.
 3

 4            260. Plaintiff purchased Tokens on the Coinbase Exchanges and
 5
      subsequently sold those Tokens at a loss seek damages, inclusive of transaction
 6
      fees, as to each transaction in which any Token purchased in California during the
 7

 8    Material Period was subsequently sold at a loss, plus applicable costs, attorneys’

 9    fees, and interest.
10

11
      XII.                         NINTH CAUSE OF ACTION

12                   Sale of Securities by an Unregistered Broker-Dealer
                           Cal. Corp. Code §§ 25210 and 25501.5(a)
13
                   (By Plaintiff Against Coinbase Global and Coinbase, Inc.)
14
             261. Plaintiff realleges and incorporates the allegations above.
15

16           262. This Cause of Action is brought on by Plaintiff, because he bought or
17
      sold Tokens on the Coinbase Exchanges in California.
18

19           263. The California Securities Act forbids any person from transacting
20
      business as a broker-dealer or agent unless he is licensed or exempt from licensing
21
      under California law. Cal. Corp. Code § 25210.
22

23
             264. A “broker-dealer” includes “any person engaged in the business of
24
      effecting transactions in securities in [California] for the account of others or for
25

26    that person’s own account” and any “person engaged in the regular business of
                                                78
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                   Case No:
     Case 2:22-cv-08274-MWF-KS Document 1 Filed 11/12/22 Page 86 of 110 Page ID #:86


 1    issuing or guaranteeing options with regard to securities not of that person’s own
 2
      issue.” Id. § 25044. A security includes, inter alia, an “investment contract.” Id. §
 3
      25019.
 4

 5
           265. Coinbase Global and Coinbase, Inc. have operated as broker-dealers in
 6
      California during the Material Period. Coinbase Global and Coinbase, Inc. have
 7

 8    engaged in the business of effecting transactions in securities for the account of

 9    others by facilitating the sale of Tokens in exchange for compensation primarily in
10
      the form of transaction fees, including by marketing Tokens, accepting investors’
11
      orders, providing answers to investor questions about transaction details, accepting
12

13    payment for orders, and working with issuers to transfer Tokens to investors after

14    payment. Coinbase Global and Coinbase, Inc. have engaged in the business of
15
      effecting transactions in securities for their own account by holding themselves out
16
      as willing to buy or sell securities on a continuous basis and as willing to provide
17

18    liquidity to the market for digital assets, by having regular customers, by
19    maintaining custody over customers’ Tokens, by providing customers with access
20
      to services allowing purchase of Tokens on credit, by having a regular turnover
21

22
      inventory of securities, by purchasing Tokens for accounts in their own name

23    (often at a discount to the ICO price), and by selling Tokens from their inventory
24
      to investors for profit. All Tokens are, and at all relevant times have been,
25
      securities as defined by California law.
26

                                                79
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                  Case No:
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 1         266. Throughout the Material Period, Coinbase Global and Coinbase, Inc.
 2
      directed the foregoing actions to California, including without limitation through
 3
      solicitations directed by Coinbase Global and Coinbase, Inc. to users in California
 4

 5    and received by users in California.
 6
           267. Coinbase Global and Coinbase, Inc. have never registered or applied for
 7

 8    registration as a broker-dealer under California law. Coinbase Global and

 9    Coinbase, Inc. do not qualify for any exemption from registration of broker-dealers
10
      under California law.
11

12         268. Coinbase Global and Coinbase, Inc. have thus operated as unregistered
13
      broker dealers in violation of Cal. Corp. Code § 25210.
14

15         269. In the course of operating as unregistered broker-dealers, Coinbase
16    Global and Coinbase, Inc. have sold Tokens to Plaintiff in California. Coinbase
17
      Global and Coinbase, Inc. solicited Plaintiff in California to purchase these
18

19
      Tokens, and in doing so, were motivated at least in part by a desire to serve their

20    own financial interests or the financial interests of owners of Tokens for sale on the
21
      Coinbase Exchanges. Coinbase Global and Coinbase, Inc. received a direct
22
      financial benefit, in the form of transaction fees, from each purchase of Tokens on
23

24    the Coinbase Exchanges. Coinbase Global and Coinbase, Inc. further benefit from

25    purchases of Tokens on the Coinbase Exchanges because such purchases support a
26

                                                80
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                   Case No:
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 1    liquid trading market for Tokens, which in turn makes the Coinbase Exchanges
 2
      more attractive to investors and issuers.
 3

 4         270. Under California law, any person who offers or sells a security in
 5
      violation of Cal. Corp. Code § 25210 is liable to the purchaser for rescission of the
 6
      sale, or if the purchaser no longer owns the security, for damages. Id. §
 7

 8    25501.5(a)(1). A purchaser who no longer owns the security is entitled to damages

 9    in an amount equal to the difference between: (i) the price at which the security
10
      was bought plus interest at the legal rate from the date of purchase; and (ii) the
11
      value of the security at the time it was disposed of by the purchaser plus the
12

13    amount of any income received on the security by the purchaser. Id. §

14    25501.5(a)(4).
15

16         271. Accordingly, Coinbase Global and Coinbase, Inc. have violated Cal.

17    Corp. Code §§ 25210 and 25501.5(a).
18

19
           272. Plaintiff in California purchased Tokens on the Coinbase Exchanges

20    and subsequently sold those Tokens at a loss seek damages, inclusive of
21
      transaction fees, as to each transaction in which any Token purchased in the
22
      Material Period was subsequently sold at a loss, plus applicable costs, attorneys’
23

24    fees, and interest.

25
      XIII.                      TENTH CAUSE OF ACTION
26

                                                81
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                  Case No:
     Case 2:22-cv-08274-MWF-KS Document 1 Filed 11/12/22 Page 89 of 110 Page ID #:89


 1         Control Person Liability for Violations of the California Securities Act
 2
                                  Cal. Corp. Code § 25504
               (By Plaintiff Against Coinbase Global and Brian Armstrong)
 3
             273. Plaintiff realleges and incorporates the allegations above.
 4

 5
             274. Every person who directly or indirectly controls a person liable under
 6
      the California Securities Act for unlawfully selling unqualified securities is “liable
 7

 8    jointly and severally with and to the same extent as such person, unless the other

 9    person who is so liable had no knowledge of or reasonable grounds to believe in
10
      the existence of the facts by reason of which the liability is alleged to exist.” Cal.
11
      Corp. Code § 25504.
12

13
             275. At the time of the wrongs alleged herein, Coinbase Global controlled
14
      Coinbase, Inc. By virtue of its stock ownership, agency, agreements or
15

16    understandings, specific acts, and otherwise, Coinbase Global had the power and

17    authority to direct the management and activities of Coinbase, Inc. and its
18
      employees, and to cause Coinbase, Inc. to engage in the wrongful conduct
19
      complained of herein. Coinbase Global, at the time of the wrongs alleged herein,
20

21    had the power to direct or cause the direction of the management and policies of

22    Coinbase, Inc.
23

24           276. Coinbase Global purposefully exercised its power and influence to

25    cause Coinbase, Inc. to violate the California Securities Act as described herein,
26
      including by selling unqualified securities in violation of Cal. Corp. Code §§
                                                82
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                   Case No:
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 1    25110 and 25130. Coinbase, Inc. is liable under Cal. Corp. Code § 25503 for its
 2
      sales of unqualified securities.
 3

 4           277. At the time of the wrongs alleged herein, Coinbase Global had
 5
      sufficient influence to cause Coinbase, Inc. to refrain from selling unqualified
 6
      securities in violation of the California Securities Act. Coinbase Global
 7

 8    purposefully decided not to do so.

 9
             278. Coinbase Global knowingly and culpably participated in, and/or aided
10

11
      and abetted, Coinbase, Inc.’s violations of the California Securities Act alleged

12    herein. Coinbase Global had knowledge of or reasonable ground to believe in the
13
      existence of the facts alleged herein, which form the basis for Coinbase, Inc.’s
14
      liability under Cal. Corp. Code § 25503.
15

16           279. Accordingly, Coinbase Global is jointly and severally liable for the
17
      violations of Cal. Corp. Code §§ 25110 and 25130 by Coinbase, Inc. complained
18

19
      of herein and is liable to Plaintiff for damages, inclusive of transaction fees, as to

20    each transaction in which any Token purchased in California during the Material
21
      Period was subsequently sold at a loss. See Cal. Corp. Code § 25503.
22

23           280. With respect to Coinbase Global, the instant claim is pleaded in the
24    alternative to the extent that Coinbase Global is found not to be directly liable
25
      under either the Eighth or Ninth Causes of Action.
26

                                                83
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                   Case No:
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 1           281. At the time of the wrongs alleged herein, Armstrong controlled both
 2
      Coinbase Global and Coinbase, Inc. As CEO and founder of both entities,
 3
      Armstrong was a principal executive officer of both entities.
 4

 5
             282. Armstrong knew of Coinbase’s violations of Cal. Corp. Code §§
 6
      25110 and 25130 because he was aware both of Coinbase’s lack of appropriate
 7

 8    registration and the fact that Coinbase was selling the Tokens.

 9
             283. Accordingly, as a “principal executive officer” of a liable corporation
10

11
      who had knowledge of the facts by which liability is alleged to exist, Armstrong is

12    jointly and severally liable for the violations of Cal. Corp. Code §§ 25110 and
13
      25130 by Coinbase, Inc. complained of herein and is liable to Plaintiff for
14
      damages, inclusive of transaction fees, as to each transaction in which any Token
15

16    purchased in California during the Material Period was subsequently sold at a loss.

17    See Cal. Corp. Code § 25503.
18

19
      XIV.                     ELENTH CAUSE OF ACTION

20
       For Fraud in the Inducement, Misrepresentation, Concealment, Manipulation
21                                   and Embezzlement
                        (By Plaintiff Against All named defendants)
22
             284. Plaintiff realleges and incorporates the allegations above.
23

24
             285. On or about November 16, 2021 Plaintiff invested about $ 47,000 in
25
      his basic Coinbase account and about $ 25,000 in his Coinbase Pro account,
26

                                                84
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                  Case No:
     Case 2:22-cv-08274-MWF-KS Document 1 Filed 11/12/22 Page 92 of 110 Page ID #:92


 1    Plaintiff had been researching a “Token” named “Gyen” that was introduce by
 2
      Coinbase to Plaintiff, Coinbase stated that Gyen was a stable coin and it was fully
 3
      backed by the Japanese Yen. Plaintiff reasonably relied on those representations
 4

 5    and invested all his funds in both accounts on the Gyen Token.
 6
             286. On 11/17/2021 Plaintiff bought GYEN coin in his Coinbase basic
 7

 8    account, he had 4,424,754.724706 GYENS Tokens, On or around November 19,

 9    2021 Plaintiff discovered he have realized a big gain when GYEN Token surged
10
      to $ 0.0313 from the initial price of $ 0.0090 at that time his balance was $
11
      64,601.41 the gains represented 360% profits over his initial investment.
12

13
             287. On or about November 17, 2021 through his Coinbase Pro account
14
      Plaintiff invested $ 25,000 on GYEN token at the price of $ 0.0090 later on or
15

16    around November 19, 2021 GYEN Token surged to the price of $ 0.0313 at that

17    time Plaintiff realized big gains of over $ 60,300.00
18

19
             288. On November 19,2021 Plaintiff noticed he had realized big gains in both

20    accounts and he quickly set orders to sell his trades of GYEN Token, to his surprise
21    the webpage did not work; Plaintiff, full of anguish tried several times to sell his trade
22
      but the system failed every time, at some point the GYEN Token started to drop and
23
      eventually crashed. Coinbase displayed a message in the screen stating as follows:
24

25
       Account Restricted, You are currently unable to send crypto on Coinbase. Please
26    visit” https://support.coinbase.com for assistance.

                                                85
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                     Case No:
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 1

 2           289. Plaintiff’s accounts were suspendedhis access restricted and hisfunds
 3
      were lockout by Coinbase, Plaintiff’s trading data was deleted from his accounts by
 4
      Coinbase. Plaintiff was denied access to his funds, his gains and the opportunity to
 5

 6
      continue successfully trading other Tokens for big gains.

 7
             290. Coinbase fraudulently manipulated Plaintiff’s accounts by suspending
 8
      his trades and the ability to sell his trades as he so wished to do so, Coinbase also
 9

10    manipulated and deleted information of his funds and gains and denied Plaintiff the

11    opportunity to sell his trades to cash out his gains, Coinbase lockout Plaintiff’s funds
12
      and remain lockout for a long period of time denying Plaintiff the opportunity to
13
      continue successfully trading.
14

15          291. Flores’ account was suspended/ restricted by Coinbase and his funds
16
      were locked out. Coinbase was manipulating Flores funds by changing the
17
      numbers constantly. Flores was negated his funds, his gains and the opportunity to
18

19    continue successfully trading other coins for big gains.

20
             292. On or around 11/19/2021 Flores’ funds were locked out, all because
21

22    Apparently Coinbase Pro software failed or was intentionally disabled to keep

23    clients from selling the asset to their detriment. and not only that Flores loss his
24
      funds but he was also negated the opportunity to make more money by trading
25

26

                                                86
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                     Case No:
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 1    other coins. Flores was denied access to his funds and therefore negated the
 2
      opportunity to profit by trading other coins and tokens.
 3

 4    XV.         THE ARBITRATION CLAUSE IS UNENFORCEABLE
 5
             293. Defendants argued that Flores must resolve all of his trading issues with
 6

 7    Defendants through mediation as stated in the “User Agreement arbitration clause”

 8
      Flores argues herein that the clause for arbitration in the “user agreement” and the
 9

10    user agreement itself are not enforceable for the following reasons:

11
          x There was no mutually of agreement to arbitration.
12

13        x This was a contract of adhesion, and Flores was not made aware of the
14
             contractual provisions for arbitration.
15

16        x There was no meeting of the minds, no mutuality, and no fundamental
17
             fairness.
18

19        x There was no dedicated page addressing arbitration, the Coinbase website
20
             was confusing and misleading.
21

22        x The arbitration agreement does not contain a unilateral modification
23
             provision.
24

25        x The arbitration clause is Substantive unconscionability.
26

                                                87
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                    Case No:
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 1        x The arbitration agreement is oppressive.
 2

 3        x The arbitration agreement is in violation of California’s implied covenant of

 4           good faith and fair dealing.
 5

 6
             Pursuant to Section 2 of the Federal Arbitration Act, an agreement to submit

 7    a dispute to arbitration “shall be valid, irrevocable, and enforceable, save upon
 8
      such grounds as exist at law or in equity for the revocation of any contract.” The
 9
      savings clause concluding Section 2 recognizes that arbitration agreements are
10

11    subject to general contract principles. AT&T Mobility LLC v. Concepcion, 563 U.S.

12    333, 339 (2011).
13

14
             Under the Act, a district court determines the two gateway issues of

15    “whether a valid arbitration agreement exists and, if so, whether the agreement
16
      encompasses the dispute at issue.” Lifescan, Inc. v. Premier Diabetic Servs., Inc.,
17
      363 F.3d 1010, 1012 (9th Cir. 2004). But the parties to an arbitration agreement
18

19    can further agree to arbitrate these gateway issues so long as the delegation is

20    “clear and unmistakable.” Rent-A-Center, West, Inc. v. Jackson, 561 U.S. 63, 69
21
      n.1 (2010). “Where a delegation provision exists, courts first must focus on the
22
      enforceability of that specific provision, not the enforceability of the arbitration
23

24    agreement as a whole.” Brice v. Haynes Invs., LLC, 13 F.4th 823, 827 (9th Cir.

25    2021). Under California law, a contract provision is unenforceable if it was
26
      “unconscionable at the time it was made.” Cal. Civ. Code § 1670.5(a); see also
                                                88
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                   Case No:
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 1    Circuit City Stores, Inc. v. Adams, 279 F.3d 889, 892 (9th Cir. 2002).
 2
      Unconscionability has both procedural and substantive elements. These elements
 3
      are analyzed on a sliding scale: the more substantively unfair, the less procedurally
 4

 5    unconscionable a provision need be for a finding it is unenforceable, and vice-
 6    versa. Sanchez v. Valencia Holding Co., 61 Cal. 4th 899, 910 (2015). The party
 7
      resisting arbitration bears the burden of demonstrating unconscionability. Pinnacle
 8
      Museum Tower Ass’n v. Pinnacle Mkt. Dev. (US), LLC, 55 Cal. 4th 223, 246–47
 9

10    (2012).
11
                   A.     Unconscionability
12

13
             294. Under California law, substantive unconscionability relates to the
14
      fairness of an agreement's actual terms and assesses whether they are overly harsh
15

16    or one-sided. Substantively unconscionable contract terms will shock the

17    conscience. See Pinnacle, 55 Cal. 4th at 246. A delegation clause "may be found
18
      substantively unconscionable where it imposes an unfair burden that is different
19
      from the inherent features and consequences of delegation clauses." Pinela v.
20

21    Neiman Marcus Grp., Inc., 238 Cal. App. 4th 227, 246 (2015) (citation omitted);

22    see also Rent-A-Center, 561 U.S. at 68-69.
23

24           A delegation clause lacking mutuality imposes an unfair burden that

25    qualifies as unconscionable. "The paramount consideration in assessing substantive
26
      conscionability is mutuality." Nyulassy v. Lockheed Martin Corp., 120 Cal. App.
                                                89
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                  Case No:
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 1    4th 1267, 1281 (2004) (cleaned up, citation omitted). In other words, to be
 2
      enforceable, a delegation provision, as well as an arbitration agreement generally,
 3
      must have a "modicum" of bilaterality. See Armendariz v. Found. Health Psycare
 4

 5    Servs., Inc., 24 Cal. 4th 83, 117 (2000).
 6    Coinbase's user agreement contains a clear and unmistakable delegation clause that
 7
      is expressly anchored in the defined term "Arbitration Agreement": See Exhibit A.
 8

 9              This Arbitration Agreement includes, without limitation, disputes
                arising out of or related to the interpretation or application of the
10
                Arbitration Agreement, including the enforceability, revocability,
11              scope, or validity of the Arbitration Agreement or any portion of
                the Arbitration Agreement. All such matters shall be decided by an
12
                arbitrator and not by a court or judge.
13
             295. The delegation clause as a whole does not generally delegate the
14
      arbitrability of all disputes between Coinbase and its users to the arbitrator. Rather,
15

16    it specifically delegates arbitrability of the "Arbitration Agreement," an expressly

17    defined term in the user agreement. Defined terms are given their defined meaning.
18
      Coinbase's user agreement, as defined by Coinbase, means what it says and that the
19
      defined terms therein govern its interpretation. See Turlock Irrigation Dist. v.
20

21    FERC, 903 F.3d 862, 872 (9th Cir. 2018); Pemberton v. Nationstar Mortgage

22    LLC, 331 F. Supp. 3d 1018, 1037-38 (S.D. Cal. 2018) (Judge Cynthia Bashant);
23
      Facebook, Inc. v. Rankwave Co., Ltd., 2019 WL 8895237, at *4 (N.D. Cal. Nov.
24
      14, 2019) (Judge Jon S. Tigar); Kanno v. Marwit Cap. Partners II, L.P., 18 Cal.
25

26    App. 5th 987, 1011-12 (2017).
                                                90
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                   Case No:
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 1           296. Consequently, whether the delegation clause imposes an
 2
      unconscionable burden that differs from a generic delegation clause requires
 3
      backtracking through the nested provisions of Coinbase's "Arbitration Agreement"
 4

 5    and the tripartite dispute resolution procedure it sets out. From the delegation
 6    clause, we must proceed to the arbitration provision itself, which defines
 7
      "Arbitration Agreement":
 8

 9              If we cannot resolve the dispute through the Formal Complaint
                Process, you and we agree that any dispute arising out of or
10
                relating to this Agreement or the Coinbase Services . . . shall be
11              resolved through binding arbitration, on an individual basis (the
                "Arbitration Agreement")
12
      (User Agreement § 8.3, emphasis omitted). The defined term "Arbitration
13

14    Agreement" incorporated into the delegation clause thus explicitly includes the
15    precondition of engagement in the "Formal Complaint Process," another defined
16
      term. The Formal Complaint Process is laid out in Section 8.2 of the user
17
      agreement (emphasis omitted):
18

19
                Formal Complaint Process. If you have a dispute with Coinbase (a
20              "Complaint"), you agree to contact Coinbase through our support
                team to attempt to resolve any such dispute amicably. If we cannot
21
                resolve the dispute through the Coinbase support team, you and we
22              agree to use the Formal Complaint Process set forth below. You
                agree to use this process before filing any arbitration claim or
23              small claims action. If you do not follow the procedures set out in
24              this Section before filing an arbitration claim or suit in small
                claims court, we shall have the right to ask the arbitrator or small
25              claims court to dismiss your filing unless and until you complete
                the following steps.
26

                                                91
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                  Case No:
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 1           297. The Formal Complaint Process thus includes its own antecedent
 2
      requirement of an informal attempt to resolve the complaint with Coinbase's
 3
      support team. Should that fail to resolve the issue, the formal process
 4

 5    requires users (upon pain of dismissal) to file a complaint form, upon which,
 6    within fifteen business days (and no later than thirty-five business days),
 7
      Coinbase will: (1) resolve the dispute as requested; (2) reject the complaint
 8
      and explain why; or (3) provide an alternative solution (id. §§ 8.2.1, 8.2.2).
 9

10
             To sum up then, like nesting boxes, the delegation clause incorporates
11
      several defined terms that specify the matters delegated to the arbitrator. The
12

13    defined terms outline the user agreement's tripartite dispute resolution procedure.

14    First, the user must contact Coinbase's support team. Second, should that fail, upon
15
      pain of dismissal, the user must pursue the formal complaint process. Third, should
16
      that process fail to resolve the grievance then, and only then, may the consumer
17

18    seek arbitration.
19
             298. The plain language of the informal and formal complaint procedures
20

21    prior to arbitration only contemplates complaints raised by the consumer, not by

22    Coinbase. The informal complaint process specifies "If you have a dispute with
23
      Coinbase (a "Complaint"), you agree to contact Coinbase" (User Agreement § 8.2,
24
      emphasis added). The formal complaint process states that, if the informal process
25

26    fails, "you and we agree to use the Formal Complaint Process set forth below"
                                                92
       _____________________________________________________________________________________

        COMPLAINT FOR DAMAGES                                  Case No:
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 1   (ibid., emphasis added). But only the user is required to file a formal complaint
 2
     upon pain of dismissal, and the procedures for handling a formal complaint
 3
     outlined in the agreement anticipate only a user's complaint and Coinbase's
 4

 5   eventual response, not the reverse scenario.
 6
            299. The "Arbitration Agreement" in the user agreement imposes no
 7

 8   obligation on Coinbase to arbitrate. Using a litigation gimmick, Coinbase contends

 9   that the arbitration agreement itself is "explicitly bilateral", pointing to the
10
     language "you and we agree that any dispute arising out of or relating to this
11
     Agreement or the Coinbase Services . . . shall be resolved by binding arbitration"
12

13   (User Agreement § 8.3). But Coinbase conspicuously ignores the introductory

14   clause preceding the very language it cites. The full sentence states: "If we cannot
15
     resolve the dispute through the Formal Complaint Process, you and we agree that
16
     any dispute arising out of or relating to this Agreement or the Coinbase Services . .
17

18   . shall be resolved by binding arbitration, on an individual basis (the "Arbitration
19   Agreement")" (ibid., emphasis added). Coinbase noted the latter clause multiple
20
     times in the hearing. Not once, however, did counsel acknowledge the preceding
21

22
     clause, opting to simply start in the middle of the sentence.

23
            The arbitration provision as a whole addresses only those disputes that have
24
     previously gone through the pre-arbitration complaint procedure. Because only
25

26   Coinbase users can raise a complaint though the pre-arbitration complaint
                                              93
     _____________________________________________________________________________________

      COMPLAINT FOR DAMAGES                                     Case No:
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 1   procedure, the arbitration provision imposes no obligation on Coinbase itself to
 2
     submit its disputes with users to binding arbitration. Two further points support
 3
     this conclusion.
 4

 5
           First, Coinbase's interpretation renders the first clause of the arbitration
 6
     provision surplusage. This is problematic especially because the first clause
 7

 8   contains a defined term and informs the meaning of the second clause of the

 9   sentence, the clause that Coinbase relies upon. "[W]hen courts construe an
10
     instrument, a judge is not to insert what has been omitted, or to omit what has been
11
     inserted." Edwards v. Arthur Andersen LLP, 44 Cal. 4th 937, 954 (2008)
12

13   (quotation omitted); see also U.S. v. 1.377 Acres of Land, 352 F.3d 1259, 1265-66

14   (9th Cir. 2003); Brinderson-Newberg Joint Venture v. Pac. Erectors, Inc., 971
15
     F.2d 272, 278-79 (9th Cir. 1992).
16

17         Second, the rest of Section 8.3 (like the first clause that Coinbase ignores)
18
     only imposes obligations on the user. The arbitration provision continues:
19

20            Subject to applicable jurisdictional requirements, you may elect to
              pursue your claim in your local small claims court rather than
21
              through arbitration so long as your matter remains in small claims
22            court and proceeds only on an individual (non-class and non-
              representative) basis. Arbitration shall be conducted in accordance
23            with the American Arbitration Association's rules for arbitration of
24            consumer-related disputes.

25   (User Agreement § 8.3, emphasis omitted). The further specifics described in this

26   passage do not say the user and Coinbase may elect to pursue their claim in small
                                              94
     _____________________________________________________________________________________

      COMPLAINT FOR DAMAGES                                   Case No:
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 1   claims court. It singles out the user once again and subjects them to the low-dollar
 2
     limits of small claims court. Thus, Coinbase would interpret Section 8.3 to at first
 3
     apply only to the user (the informal and formal complaints), then apply to both
 4

 5   parties (arbitration), and then go back to only applying to the user (small claims
 6   court). This variable interpretation is untenable. A plain reading of the user
 7
     agreement, in contrast, construes the "Arbitration Agreement," as defined by
 8
     Coinbase, to be explicitly conditioned upon use of the "Formal Complaint
 9

10   Process," and only users must submit to that procedure. Because the delegation
11
     clause imposes no requirements on Coinbase, it lacks the requisite modicum of
12
     bilaterality.
13

14          Although the user agreement lacks mutuality, the analysis continues. The
15
     California Supreme Court has "confirmed that a one-sided contract is not
16
     necessarily unconscionable." Tompkins v. 23andMe, Inc., 840 F.3d 1016, 1030-31
17

18   (9th Cir. 2016). Pre-arbitration dispute procedures can recite legitimate "extra
19   protection" for the stronger party and present "laudable" mechanisms to resolve
20
     disputes informally. Pretextual or unduly onerous preconditions to arbitration,
21

22
     however, remain substantively unconscionable. See Baltazar v. Forever 21, Inc.,

23   62 Cal. 4th 1237, 1250 (2016); Nyulassy, 120 Cal. App. 4th at 1282-83.
24
            An unconscionability determination is highly context-specific, where the
25

26   context "includes both the commercial setting and purpose of the arbitration
                                              95
     _____________________________________________________________________________________

      COMPLAINT FOR DAMAGES                                   Case No:
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 1   contract and any procedural unconscionability in its formation." OTO, LLC v. Kho,
 2
     8 Cal. 5th 111, 136 (2019); see also De La Torre v. CashCall, Inc., 5 Cal. 5th 966,
 3
     984 (2018). As discussed, Coinbase's tripartite complaint process requires users to
 4

 5   jump through multiple, antecedent hoops before initiating arbitration. This analysis
 6   pauses to note the agreement also mentions a separate "hotline" for users to call if
 7
     their account is compromised, a further checkbox for a user who has seen their
 8
     account drained. There is no legitimate commercial need for this many
 9

10   burdensome obstacles prior to arbitrating disputes relating to a basic user
11
     agreement for services like those provided by Coinbase. See Armendariz, 24 Cal.
12
     4th at 117-18; Pokorny, 601 F.3d at 998-1000. The lack of mutuality in Coinbase's
13

14
     complaint process is expressly incorporated into the delegation clause via defined

15   terms. In other words, the delegation clause only delegates questions of
16
     arbitrability that emerge from the user agreement's tripartite dispute-resolution
17
     procedure, not arbitration, generally. Because the delegation clause imposes an
18

19   onerous, unfair burden beyond that of a typical delegation clause, therefore it is

20   substantively unconscionable.
21

22
           Procedural unconscionability addresses the circumstances of contract

23   negotiation and formation and concentrates on two factors: oppression and
24
     surprise. Pinela, 238 Cal. App. 4th at 243. "Oppression occurs where a contract
25
     involves lack of negotiation and meaningful choice, surprise where the allegedly
26

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 1   unconscionable provision is hidden within a prolix printed form." Morris v.
 2
     Redwood Empire Bancorp, 128 Cal. App. 4th 1305, 1317 (2005) (quotation and
 3
     citation omitted).
 4

 5
           300. First, considering oppression, the user agreement here clearly
 6
     qualifies as a contract of adhesion — a "standardized contract, which, imposed and
 7

 8   drafted by the party of superior bargaining strength, relegates to the subscribing

 9   party only the opportunity to adhere to the contract or reject it." Pinela, 238 Cal.
10
     App. 4th at 242 (quotation omitted). Coinbase drafted and presented the user
11
     agreement to Flores on a take-it-or-leave-it basis, which deprived him of both the
12

13   ability to negotiate and meaningful choice.

14
            Second, under the prevailing law, consumers can be forced to arbitrate even
15

16   federal claims that Congress has expressly authorized for the federal district court.

17   But even though a federal claim for relief can be forced into arbitration, the "right"
18
     to arbitrate may not be further conditioned on onerous procedural preconditions, as
19
     here employed. For example, the user agreement recites: "If you do not follow the
20

21   procedures set out in this Section before filing an arbitration claim or suit in small

22   claims court, we shall have the right to ask the arbitrator or small claims court to
23
     dismiss your filing unless and until you complete the following [pre-arbitration
24
     complaint] steps" (User Agreement § 8.2). This is a broad prohibition on access to
25

26

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 1   formal resolution procedures would surprise the average consumer for this type of
 2
     service.
 3

 4         Again, the procedural unconscionability of the user agreement's dispute
 5
     resolution procedure is expressly incorporated into the delegation clause. Coinbase
 6
     does not contest the user agreement contains at least some level of procedural
 7

 8   unconscionability. Therefore, given the level of substantive unconscionability

 9   inherent in the delegation clause previously discussed, the level of procedural
10
     unconscionability merits the finding that the delegation clause is unconscionable
11
     and, thus, unenforceable.
12

13
           Having found the delegation clause unenforceable, the court must consider
14
     whether the arbitration agreement as a whole is unenforceable. See Pinela, 238
15

16   Cal. App. 4th at 250. The court of appeals has stated that "Rent-A-Center

17   contemplate[d] that a delegation provision may be unenforceable for the same
18
     reason as the broader arbitration agreement." Brice, 13 F.4th at 827. Because of the
19
     manner in which Coinbase crafted its user agreement, all the analysis above
20

21   regarding the delegation clause applies to the arbitration agreement, generally. See

22   Saravia v. Dynamex, Inc., 310 F.R.D. 412, 422 (N.D. Cal. 2015). The "Arbitration
23
     Agreement" imposes a burdensome and unfair pre-arbitration dispute process on
24
     users and sends their complaints, but not Coinbase's complaints, to binding
25

26

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 1   arbitration. Therefore, the arbitration agreement as a whole is unconscionable and,
 2
     hence, unenforceable.
 3

 4                B. Severance.
 5
            301. Finally, having determined that the delegation clause and the
 6

 7   arbitration provision as a whole are unconscionable, the court must consider the
 8
     possibility of severance.
 9

10         California Civil Code Section 1670.5(a) provides:

11
               If the court as a matter of law finds the contract or any
12             clause of the contract to have been unconscionable at the
13             time it was made the court may refuse to enforce the
               contract, or it may enforce the remainder of the contract
14             without the unconscionable clause, or it may so limit the
               application of any unconscionable clause as to avoid any
15
               unconscionable result.
16
     In Armendariz, the California Supreme Court explained: "the statute appears to
17
     give a trial court some discretion as to whether to sever or restrict the
18

19   unconscionable provision or whether to refuse to enforce the entire agreement. But

20   it also appears to contemplate the latter course only when an agreement is
21
     `permeated' by unconscionability." 24 Cal. 4th at 122.
22

23          Here, unilaterality pervades both the delegation clause and the arbitration
24
     agreement as a whole. As explained above, the relevant provisions of the user
25
     agreement's dispute resolution procedure employ defined terms such that the
26

                                              99
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 1   various provisions outlining the informal complaint, formal complaint, and
 2
     arbitration procedures are nested one inside the other. The formal and informal
 3
     complaint processes precondition arbitration. Unilaterality, accordingly, permeates
 4

 5   the whole. The arbitration agreement is "simply too tainted to be saved through
 6   minor adjustments." Pokorny, 601 F.3d at 1005.
 7

 8          302. Coinbase would have strike the phrase "If we cannot resolve the

 9   dispute through the Formal Complaint Process," which would leave: "[Y]ou and
10
     we agree that any dispute arising out of or relating to this arbitration agreement . . .
11
     shall be resolved through binding arbitration, on an individual basis (the
12

13   "Arbitration Agreement")". In effect, Coinbase itself defined, "Arbitration

14   Agreement." As explained above, defined terms govern the interpretation of the
15
     contract, so this change would rewrite the dispute resolution procedure the user
16
     agreement sets out. This order "strive[s] to interpret the parties' agreement to give
17

18   effect to all of a contract's terms." Brandwein v. Butler, 218 Cal. App. 4th 1485,
19   1507 (2013) (emphasis added). Coinbase's suggestion is a non-starter and the
20
     inability to cleanly remove the unconscionable language weighs against severance.
21

22
     See Pinela, 238 Cal. App. 4th at 256. Coinbase's revision, moreover, would have

23   little efficacy: another provision in the contract similarly requires the user "to agree
24
     to use this [pre-arbitration] process before filing any arbitration claim or small
25
     claim action" (User Agreement ¶ 8.2). The inclusion of the requirement for users to
26

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 1   engage in an onerous pre-arbitration procedure in multiple provisions further
 2
     indicates that severance is not possible here. See Nyulassy, 120 Cal. App. 4th at
 3
     1287. The Coinbase's provisions would be binding only in this case and would
 4

 5   leave Coinbase free to insist on its burdensome and one-way preconditions in all
 6   other cases. In short, severance is not feasible.
 7

 8          303. Defendants and each of them also acted with oppression, fraud, or malice

 9   as defined by California Civil Code section 3294 and engaged in highly reprehensible
10
     and despicable conduct warranting exemplary damages.
11

12   XVI.                         PRAYER FOR RELIEF

13
            304. WHEREFORE, Plaintiff, prays for judgment against Defendants as to
14

15   each and every count, including:

16
            a).   An order declaring that Defendants’ actions, as set forth above,
17

18
     constitute violations of the federal and state laws set forth above and that

19   Defendants are liable to Plaintiff, as described herein, for damages arising
20
     therefrom;
21

22          b).   An injunction enjoining Coinbase from offering the Tokens for
23   purchase or sale on the Coinbase Exchanges without having registered the
24
     Coinbase Exchanges as national securities exchanges or broker-dealers as required
25
     by the federal securities laws.
26

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 1         c).    An order awarding declaratory relief, and any further retrospective or
 2
     prospective injunctive relief permitted by law or equity, including enjoining
 3
     Coinbase from continuing the unlawful practices alleged herein, and injunctive
 4

 5   relief to remedy Coinbase’s past conduct;
 6
          d).    A judgment awarding Plaintiff, all appropriate damages, in an amount
 7

 8   to be determined at trial but not less them $ 1, 580,000.00

 9
           e).    A judgment awarding equitable, injunctive, and/or declaratory relief as
10

11
     may be appropriate including, but not limited to, rescission, restitution, and

12   disgorgement.
13
           f).    A judgment awarding Plaintiffs prejudgment and post-judgment
14

15   interest, as permitted by law, of 7% for a daily amount of $ 158.80 from
16   11/19/2021 till resolve.
17

18         g).    A judgment awarding Plaintiff, costs and fees, including attorneys’

19   fees, as permitted by law.
20

21         h).    A judgment for expected returns on investment; and

22
           i).    Grant such other legal, equitable or further relief as the Court may
23
     deem just and proper.
24

25

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 1           j). Plaintiff reserves the right to seek punitive damages against all named
 2
     defendants in the amount to be prescribe by the court to punish and deter
 3
     defendants from ever engaging in those acts as stated above.
 4

 5

 6
     XVII.              DEMAND FOR PUNITIVE DAMAGES
 7

 8
           305. A Judgment for exemplary punitive damages to deter defendants from
 9   ever engaging in unlawful acts.
10

11
     XVIII.                  DEMAND FOR JURY TRIAL
12

13           306. Plaintiff demand a trial by jury for all issues so triable.
14

15

16
                      Respectfully submitted at Sherman Oaks, California.
17

18                               Dated: 2FWREHU , 2022
19

20

21                                  By: /s/ Jose Flores
22
                                         Jose Flores
23                                    Plaintiff in Pro Se
24

25

26

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